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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

   

 

COMPLAINT

Ralph Rodriguez Din, #,]7A0928,5 Civil Rights Act

Plaintiff

AGAINST
Americans With Disabilities

EFdward Burnett. -gt ,ad
efendant Act Title II 42 U.S.C 12132

 

and 12133 and Section 504
Of The Rehabilitation Act
Plaintiff Ralph Redriguez Din number 17A0928, whom is incarcerat
ed at Fishkill Correctional Facility, Located at P.O Box 1245
Beacon New York 12508, Depose and States the following allegation

as true and correct;

NATURE OF ACTION

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1. This is an action to recover money damages arising out of
Defendants Violation of Plaintiffs Rights as secured by the
Civil Rights Act, 42 U.S.C 1983, under the FIRST, FIFTH, SIXTH
EIGHTH, and FOURTEENTH AMENDMENTS to the UNITED STATES CONSTI-
UTION, and The AMERICANS WITH DISABILITIES ACT TITLE II and

SECTION 504 OF THE REHABILITATIONS ACT.

JURISDICTION AND VENUE

 

2. This action is brought pursuant to 42 U.S.C 1983 and the
Americans with Disabilities Act title II, and section 504 of the
Rehabilitations Act pursuant to 28 U.S.C 1331, 1343(37) and
1343(4).

3. This court has pendent or supplemental jurisdiction over all
claims brought under NEW YORK STATE LAW to 28 U.S.C 1367.

4. Pursuant to 28 U.S.C 1391(b), venue is proper in the SOUTHERN

DISTRICT of NEW YORK, because the events forming the basis of

Plaintiffs Complaint occurred within that District.

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PARTIES/DEFENDANTS

 

1. EDWARD R, BURNETT (Superintendent ) at FISHKILL CORRECTIONAL
Facility, was at all relevant times an employee of the STATE OF
NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is being sued
in his INDIVIDUAL and OFFICIAL capacity.

2. AKINOLA FRANCI, AKINYOMBO (Deputy supt corr HCF2) at FISHKILL
CORRECTIONAL FACILITY, was at all relevant times an employee of
the STATE OF NEW YORK, within the DEPARTMENT OF CORRECTIONS, and
is being sued in his INDIVIDUAL and OFFICIAL capacity.

3. DAVACHI M SULLIVAN (Nurse Practitioner) at FISHKILL CORRECT-
TIONAL FACILITY, was at all relevant times an employee of the
STATE OF NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is
being sued in her INDIVIDUAL and OFFICIAL capacity.

4. SALLY A, REAMS ( IGP Supervisor) at FISHKILL CORRECTIONAL
FACILITY, was at all relevant times an employee of the STATE OF
NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is being sued
in her INDIVIDUAL and OFFICIAL capacity.

5. JOHN F, WOODS (Deputy Supt Progm) at FISHKILL CORRECTIONAL
FACILITY, was at all relevant times, an employee of the STATE OF
NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is being sued
in his INDIVIDUAL and OFFICIAL capacity.

6. ALEXANDRA AYANA GIBBONS (Correctional Officer) at FISHKILL
CORRECTIONAL FACILITY, was at all relevant times an employee of
the STATE OF NEW YORK, within the DEPARTMENT OF CORRECTIONS, and

is being sued in her INDIVIDUAL and OFFICIAL capacity.
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7. LUIS GONZALEZ (Asst Dep Supt) at FISHKILL CORRECTIONAL
FACILITY, was at all relevant times an employee of the STATE OF
NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is being sued
in his INDIVIDUAL and OFFICIAL capacity.

8. STEPHEN URBANSKI (Deputy Supt Security S3) at FISHKILL
CORRECTIONAL FACILITY, was at all relevant times an employee of
the STATE OF NEW YORK, within the DEPARTMENT OF CORRECTIONS, and
is being sued in his INDIVIDUAL and OFFICIAL capacity.

9. SHARON L, FROST (Deputy Supt Admnv) at FISHKILL CORRECTIONAL
FACILITY, was at all relevant times an employee of the STATE OF
NEW YORK, within the DEPARTMENT OF CORRECTIONS, and is being sued
in her INDIVIDUAL and OFFICIAL capacity.

10. CHARMAINE WAYLON (Nurse Admr O01) at FISHKILL CORRECTIONAL
FACILITY, was at all relevant times an employee of the STATE OF
NEW YORK, within the DEPARTMENT. OF CORRECTIONS, and is being sued
in her INDIVIDUAL and OFFICIAL capacity.

ll, STATE OF NEW York

PARTIES/DEFENDANTS

 

EDWARD R, BURNETT - AKINOLA FRANCI, AKINYOMBO - JOHN F, WOODS -
LUIS GONZALEZ - STEPHEN URBANSKI - SHARON L, PROST ~ CHARMAINE
WAYLON -

Are also being sued under SUPERVISOR LIABILITY (RESPONDEAT
SUPERIOR), for the responsibility of their subordinate because
after learning of the violation through letters and grievances
and being personally informed failed to remedy the wrong, as well
as allowing this custom to continue, and for being grossly
negligent in that they did not adequately supervise the subordi-

nates whom violated plaintiffs Federally Protected Rights.

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PLAINTIFFS INJURIES and DISABILITY

In 2010, plaintiff was stabbed multiple times and experienced
serious injuries to the abdomen, requiring several surgical
procedures and removal of portions of the spleen and intestines.

Plaintiff was also stabbed on both arms and the right wrist. the
injuries to plaintiffs right wrist and arm included diagnosed
nerve, artery, and tendon damage resulting in ongoing pain,
numbness, tingling and weakness in the entire right upper
extremity below the shoulder, and required removal of portions of
the muscle. The injuries to plaintiffs left arm resulted in pain
and numbness in the area of the wound to date.

Plaintiff also suffers from diagnosed chronic lower back pain
caused by issues in the lumbar region of the spine prior to
plaintiffs incarceration, and chronic pain in the neck, legs and
having flat feet causes pain to date.

Prior to and throughout plaintiffs incarceration, plaintiff was
diagnosed with bipolar disorder and anti-social personality
disorder, and plaintiff also suffers from anxiety,
claustrophobia, and depression.

Plaintiffs medical and psychiatric condition substantially
limited several major life activities, including but not limited
to caring for myself, eating, sleeping, lifting, communicating,
writing, typing, and working. Both individually and collectively,
these physical impairments constitute a disability under the
Americans with Disability Act, 42 U.S.C 12102.

Defendants were provided notice of plaintiffs medical condition

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and disability as well as needs on or about January 10, 2015, and
at various points during plaintiffs detention thereafter, and
indeed receiving medical confirmation of plaintiffs disability
from medical contractors employed with the Department Of
Corrections Community Supervision.

Despite having notice and being in possession of medical
documents Defendants at various points and in time acted with
Deliberate Indifference to plaintiffs medical conditions and
disability, which exacerbated and exacerbating plaintiffs prior
injuries and causing additional pain an suffering, and failed to
make Reasonable Accommodations, as well as intentionally denying
plaintiff the benefits of a program, service or activity, all

incidents provided within plaintiffs Federal Civil Rights Claim.
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INCIDENT # 1

1. Plaintiff has been incarcerated since 2015, and has in the
past filed suit against D.O.C.C.S for Civil Rights Violations
as well as AMERICANS WITH DISABILIES ACT TITLE II violations
please see Ralph Rodriguez VS City Of New vork 15-CV-7945(ALC)
(SDA).

2. Plaintiff is fully aware of the Prisoners Litigation Ref-
orm Act(P.L.R-A), and how important it is to grieve issues and,
fully exhorst administrative remedies.

3. Plaintiff had been trasfered to Fishkill Correctional Fac—
ility on or about the end of 2019, and once plaintiffs Federal
Civil Rights as well as Americans with Disabilities tights were
being violated at Fishkill Correctional started to submit gri-
evances to the IGP(Inmates Grievance Program). (see Exhibit A)

4. After weeks of waiting for a responce from IGP, and receiv-
ing none, plaintiff started to write letters to IGP inquiring
why the grievances where not being resonded to.

5. When plaintiff got no responce, plaintiff then started to
ask the inmates within the facility about the grievance prog-
ram, and how they operate within this facility.

6. Plaintiff was then informed that the grievance department
is run by ms Reams, and her as well as the inmates that work
for her are completely corrupt, and inadequate ( see Exhibit’B))

7. Plaintiff then started to write letters to the superinte-
ndent, and the administration to inquire why plaintiffs grie-
vances were not being reponded to, but got no responce...

8. Shortly after writing those letters, plaintiff was called

down to the IGP office, and seen first hand what other inmates

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was informing plaintiff about, regarding the IGRC(Inmate Grie-
vance Responce Committee).

9. During the hearing the inmates whom are suppose to assist
plaintiff regarding grievances, took adverse positions, failed
to acknowledge any of the information, and evidence provided
and attempted to have plaintiff sign off on the grievance whi=
ch plaintiff refused to do.

10. Plaintiff has now been in Fishkill Correctional for on or
about almost two years, and have filed multiple grievances, and
not once was a grievance ruled in plaintiffs favor, regardles
of the documents or evidence provided.

11. Many of the grievances that plaintiff submitted was igno-
red, and unanswered, failing to provide plaintiff with a grie-
vance number, so plaintiff would be unable to full exhorst the
administrative remedies, that are suppose to be available.

12. All grievances submitted was done so in accordance with
Directive 4040 of the IGP, which was (1) plaintiff submitted
the grievance, (2) plaintiff waited over three weeks for a re-
sponce and when none was recieved or was plaintiff writen to
appeal to the superintendent and (3) after three weeks of re-
cieving no responce or a reponce requested an appeal to the
C.O.R.C.

13. Todate plaintiff had recieved no reponce from C.O.R.C and
no remedies has been available.

14. Letters writen to IGP’reyuesting copies of the IGP rules
on what to do if grievances was unanswered and no grievance
number provided went unanswered, and ignored.

15. All grievances that was reponded to was denied, and some

completely ignored the subject matter of the grievance please

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see (Exhibit C).

16. When plaintif£e would go to the law Library, which is

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divectly next to the IGPS office, plaintiff would near ms Reams

Speaking out loudly ebout inmates grievances, Laughing about

oo

there subject matter, and how they where writer

17, Plaintiff has been told by other inmates about violent
reprisals, and reprisals done in general when inmates grieve the
wrong correctional officer or staff memoer.

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18. The erievance system here at Fishkill

is non existing and inadequate.

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19. Plaintiff has never once had a grievance ruled in piain

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provided.

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20. Since plaintiff ft has been
been only on or about one IGRC election, and pier directive 4046
there is suppose to be one every six months but isnt, and even
when there was the same inmates whe work for miss Reams are
chosen, proving the election is rigged.

Zi. These same inmates are chosen by ms Reaws because they
convince inmates to write off on there grievances and not move
forward regardless of how valid there issues are.

22. These inmates do this for special treatnent such as getting
put into the best dorms within the facility, and other things.

23. Ms Reams hes used her authority and position 4s @ means, and
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way to impede, frustrate and

exhaustion there administrat:

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procedure nonexisting and inadequate.

24. Ms Reams is well aware of the PLRA, and how important it is
for inmates to exhaust, and absent exhaustion could lead to valid
claims being dismissed for failure to exhaust.

25. Plaintiff had submitted grievances about ms Reams actions,
and failure to act that also went unanswered and ignored.

26. Letters was sent to the superintendent Burnett, and the
administration about her actions and conduct that went unanswered
See (Exhibit D).

27. Plaintiff had seen the superintendent in the walkway, and
informed him personally about ms Reams, and still he did nothing
fo correct or assist in any way.

238. The superintendent Burnett, and his administration here at
Fishkill Correctional has failed to oversee their employee ms
Reams who has caused the wrong written within this claim, and by

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their staff member that has created a custom that allowed the
wrong to occur.

29. The defendants are fully responsible for their failure to
correct these actions, and properly supervise their employee, and
was personally put on notice, and with written letters.

30. Plaintiff has attempted to keep as many copies as possible
as proof and exhibits but due to constant searches many documents
was destroyed, as a form of retaliation for plaintiffs writing of
grievances.

31. Ms Reams actions, and failure to properly assume her duties

has frustrated, and impeded plaintiffs attempt of filing a non

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frivolous claim in the court of claim.

32. Ms Reams actions was deliberate, and done with malicious
intent resulting in actual injury see (Exhibit E).

23, Plaintiff had filed a grievance, and after weeks of getting
no response, and Letters requesting the status and what to do
next Lf grievance went unanswered was ignored as well.

34, Plaintiff wrote to appeal to the superintendent which was
also ignored, and weeks later plaintiff cequested an appeal to
C.0.R.C all in accordance with the IGP rules all went unanswered
and by then the statue of Limitations had run out.

35, Ms Reams had abused ner authority, and due to her actions,
and failure to preform her duty rendered plaintiffs rignt to
petition grievances, and exhaust administrative remedies
unavailable, due to her actions, and custom she created and which
was known to Administration.

36. Plaintiff is fully aware of the Prisoners Litigations Reform

Act, and knows how to exhaust administrative remedies, and any

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claims by defendants cequesting any dismissal of plai

for failure to exnaust administrative cemedies, should be
disrecarded by this honorable court, and plaiatift attempted to
grieve, and exhaust each and every issue raised within this claim
with no success.

This is plaintiffs sworn affidavit of the way the IGRC system

is ran within Fishkill Correctional Facility.
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37. Plaintiff has been incarcerated since 1-10-15 to date and,
D.0.C.C.S is fully aware of plaintiffs medical and disability
which is on file within D.O.C.C.S records.

38. While plaintiff was incarcerated at Rikers Island
Correctional Facility, that facility had refused to accommodate
plaintiffs request for an EGG CRATE( A Supportive Padding), or
extra mat, to assist plaintiffs severe medical issues regarding
plaintiffs back.

39, Plaintiff then filed a Federal Civil Rights Complaint under
section 1983, and Americans with Disabilities Act title II,
please see Rodriguez v City Of New York 15-cv-7943 2018 WL
1276826, Southern District Of New York.

40. Defendants agreed that plaintiff should have received a
Reasonable Accommodation for an EGG CRATE, due to plaintiffs
disability, and medical condition, and a settlement was reached
in plaintiffs favor.

41. At all times Defendants was aware of plaintiffs medical
condition and disabilities, with documentation, and medical
records within the custody of D.0O.c.c.S and in Fishkill
Correctional Facility.

42. Plaintiff was transferred from Five Points Correctional
Facility from Rikers Island, and an application for Reasonable
Accommodation was made, and approved by Five Points Correctional
due to plaintiffs medical history, and disabilities, see (Exhibit
F).

43. The bed frames used within the department of correctional

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are metal(Steel), with no support of any kind, and the mats give
out to inmates also have no support, and are almost paper thin,
and the courts have been ruled that these mats used for long
periods of times are unethical, inadequate, and prolong use
especially by inmates with medical conditions or disabilities can
rise to the level of cruel and unusual punishment.

44, Plaintiff was transferred to Fishkill Correctional Facility
on or about the end of 2019, and a Reasonable Accommodation
request was made a number of times, and all was denied by
defendant M. Sullivan-Davachi see (Exhibit G).

45. Plaintiff quickly filed a grievance following all the steps
of Directive 4040, and P.L.R-A, and as usual ignored or denied.

46. Plaintiff then started to make multiple sick call request,
before being seen, and when plaintiff seen ms Sullivan, plaintiff
brought all the medical records, and case law regarding the
issue, and ms Sullivan stated " I dont give out EGG CRATES or
EXTRA MAT Passes because I dont think they help out".

47. I then explained to her fully the extent of my medical
condition, and disabilities, but she refused to honor anything,
and I then stated to her "how can you make that assumption when
your not an expert in that field of medicine" and she then stated
"well if you dont like the way I handle things then you can write
a grievance", knowing fully well that grievances mostly dont do
anything to assist inmates within this facility.

48. Plaintiff then filed a grievance against ms Sullivan, and

medical followinq all the steps of Directive 4040, and the

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P.L.R.-A with no resolution of any kind.

49. Plaintiff also wrote letters to the administration, and the
Deputy of Health Akinyombo Akinola Franci, and Dep Woods, both
being told personally as well with no resolution of any kind.

50. Multiple sick call request was made once again, and when
plaintiff finally got called to be seen, once again seen
Akinyombo explaining things fully, and he stated "Ill look into
it", but nothing was done.

51. When plaintiff went to see the sick call nurse after
regarding the extreme pain and suffering due to being forced to
Sleep on the mat with no support, she called ms Sullivan, and I
was sent to her office.

52. Plaintiff told ms Sullivan that I needed to be put back on
my pain medication Gabapentin about 2400mg, but she told me "we
dont give out that medication in this facility", and she then
prescribed me Meloxican which did nothing at all to help with the
pain.

53. After multiple sick call request made again before being
seen by ms Sullivan, plaintiff explained the medication wasnt
helping, and requested to be seen by pain management, and a Back
Brace to help with the pain.

54. It took plaintiff almost about a year to see pain management
and get a back brace, and when the pain management doctor seen me
he stated "Why havent you been getting your pain medication", I
then explained fully how medical at Fishkill is inadequate, and

provides below minimum standard of care, and he stated well you

should get

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your medication and even stronger, I11 write it up", but when
plaintiff seen ms Sullivan again she refused to give me any of
the medication referred by the pain management doctor, and
instead provided a cream Diclofenac Sodium topical Gel 1%, which
did nothing to help with the pain.

55. This complaint isnt a complaint on the medication provided
but the Deliberate Indifference the defendants did to plaintiffs
severe medical condition, and disabilities in refusing to grant a
Reasonable Accommodation, and failure to provide the proper
medication to a pre diagnosed condition, providing below minimum
standard of care in direct violation to plaintiffs Federal Civil
Rights causing cruel and unusual punishment, and violating
plaintiffs American with Disabilities Act Title II rights.

56. Since plaintiff entered Fishkill Correctional todate,
defendants knew and disregarded the severe infliction of unwanton
infliction of pain and suffering that was clearly apparent, and

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granting plaintiffs request for a Reasonable Accommodation
violated plaintiff civil rights, and caused plaintiff to suffer
extreme pain and suffering deliberately and was indifferent to
plaintiffs medical condition and disabilities, that affected
plaintiff mentally, and emotionally causing injury with a prior
showing of physical injury that was more than "DE MINIMIS".

57. Due to plaintiffs actions, failure to act and Deliberate
Indifference to plaintiffs medical, and disabilities plaintiff
suffered extreme pain and suffering, loss of sleep, depression,

weight loss, and was unable to attend recreation, breakfast due

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to the pain, and suffering upon waking up, was denied a program,
service or activity, also causing mental, and emotional damages
due to defendants Deliberate Indifference to plaintiffs serious
medical needs.

58. Letters written to Administration, superintendent BURNETT,
and the Dep of Health AKINYOMBO was ignored, all of whom failed
to adequately train, investigate, and insure this custom of care
provided by ms Sullivan, and the health care staff was put to a
stop, and they was all put in direct notice both directly, and
indirectly via letters, failing to remedy a wrong, and act while
in a position of authority to act, which was a Direct Deliberate
Indifference to plaintiffs medical care, and disability, causing
extreme pain and suffering.

59. This is a sworn testimony of the standard of care given to
plaintiff while incarcerated at Fishkill Correctional Facility,

as well as other inmate please see (Exhibit H).
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INCIDENT# 3

60. On 12-31-21 officer Gibbons Alexandra Ayana worked my
housing unit 9-1, which is located within the main, and the
moment she started working, it was apparent that she was very
upset, distraught, irritated, and was acting in an unprofess-
ional manner, by being extremely disrespectful to the inmates
within the housing unit.

61. On 12-30-21 multiple officers (C.E.R.T) came into my ho-
using unit, and immediately started to assault multiple inm-
ates(7), myself included, for no probable cause but for the
intent of harming us, and I was severely injured see(Exhibit I)

62. When ms Gibbons walked around the dorm, and reached my
cubical I was laying down on my bed, with my foot raised in
a bandage wrapped up, as well as my wrist due to the injuries
from the brutal assault the day prior, and it was clearly
apparent I was injured, and in pain.

63. She looked at me, hissed and seen I was using two mats
because it was medically ‘necessary, and she yelled at me
Saying "GET THAT MAT OFF YOUR BED NOW"; and I tried to expla-
in to her that when I went to medical there was no room in the
ICU, and the nurse told me to use an extra mat to help, but
she said "I dont care who said what, get it off now".

64. I got up off the bed in severe pain and informed her due
to the injuries C.E.R.T caused I need help, she then stated
"T read the log book, and know what happen yesterday, and I
dont care", and started to put on her gloves.

65. I started to have severe anxiety, and told her I need my

neighbor to help me, but she entered my cubic#é;, and started
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tossed my mat to the floor.

66. I then tried to explain to her that she was taking the wrong
mat leaving me with a ripped up paper thin mat, and she stated
"You had your chance now Im taking which ever one I want"

67. As I tried again to tell her the seriousness of my injuries
she turned to me, and told me to come with her, taking me outside
the dorm into the hallway and said " now you stand here and stare
at the wall until Im done", I then told her my injuries to my
foot wont allow me to stand she said " I dont care, you stand
there staring at the wall or Ill pull my pin, and make sure you
get really hurt"

68. It was then that I complied due to the traumatic event that
happen the day prior, and stood with my nose touching the wall
staring at it.

69. After 20 minutes of waiting due to the pain I fell down
hitting my head, and injuring my head, neck, back, wrist and
ankle severely injuring myself further due to officer Gibbons
Girect indifference to my medical condition, in retaliation to me
making claims of filing suit against her co workers for what they
did to me.

70. some of the inmates within my unit seeing me fall down in
the hallway see (Exhibit J), alerted ms Gibbons to what happen,
and she came seeing me injured she pulled her pin, and a code
green (Medical Emergency) was called, and medical came and had to

Wheelchair me to medical.

71. At medical I received as usual below the below minimum

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standard of care, being only one crutch, and sent back to my
housing unit, but an injury report was made see (Exhibit Kk).

72. When I got to my cubical all my property was thrown on the
floor, and some damaged including my legal documents, and I found
out that ms Gibbons was not only retaliating against me but was
in a bad mood because she had to do overtime and it was New Years
Eve, so she was taking out her anger on me, being malicious
Indifferent to my medical condition and disability, and did so
with intent and in bad faith, and I filed a civil complaint
against her under civil service law 75(1)(2)(3) see (Exhibit L),
and a grievance was filed following all the steps pier directive
4040, and P.L-.R-A which was completely ignored, and this is a

sworn testimony of the events that had occurred that day-
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INCIDENT # 4

 

 

73. Plaintiff arrived at Fishkill Correctional Facility on or
about the end of 2019, and was moved to the facility as a
preference Transfer to attend the College program, and plaintiff
filled out the application to NYACK college.

74. Plaintiff was called down to the school building, and took
the entry exam as well as filled out the essay, which was simple
for plaintiff to fill out because plaintiff was a high school
graduate with honors in the late 90s.

75. All of plaintiffs school records are within the custody of
the D.O.C.C.S, and after filling out the application plaintiff
waited weeks for a response, and wrote to the school supervisor,
whom wrote back saying " although you did well on the exam there
was no room left to place plaintiff into college, and plaintiff
had to wait for the next semester".

76. Plaintiff waited for the next entry exam, and doing
everything as previously states with the same results, and
plaintiff then wrote to _ the superintendent inguiring why
plaintiff was not being accepted into the college program.

77. Plaintiff received a letter back see (Exhibit M), and was
informed on the letter that because plaintiff was disabled
plaintiff could not attend the college program.

78. Plaintiff immediately wrote a grievance stating that
plaintiff was being discriminated against due to plaintiffs
disability status, and there was multiple inmates within the
program with medical conditions, and that the facility was in
direct violation to the Americans With Disabilities Act Title II,

and section 504 of the Rehabilitations Act.

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79, Attempts to resolve this discrimination, and denial of being
able to attend a program, service or activity that the facility
offers to other inmates with no success, and plaintiff seeing the
Dep supt for program mr woods within the housing unit informed
him fully of the incident, he stated "Ill look into it", but did
nothing to assist in any way.

80. Letters to the Administration asst dep supt. of program mr
Gonzalez, Academic supervisor ms Mulligan, Superintendent
Burnett, all went unanswered and the issue ignored, and all
defendants was on full notice of plaintiffs issue, but all was
deliberately indifferent to plaintiffs medical condition and
disabilities, as well as their violation of plaintiffs Civil
rights under State and Federal Constitution as well as the ADA
title II, and 504.

81. Plaintiff attempted to exhaust administrative remedies in
accordance to directive 4040, and the P.L.R.A with no resolution,
and these allegations are a sworn testimony of plaintiffs
Discrimination and violation of State and Federal civil rights,

as well as the ADA title II and Rehabilitations Act 504.

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INCIDENT # 5

82. Upon plaintiff arriving at Fishkill Correctional Facility
it was clearly apparent that the facility was an old prison with
deplorable, and sordid conditions, with a hostile environment
because of lack of cameras unlike plaintiff last facility Five
Points which had numerous cameras, making acts of violence less
likely to occur, by both inmates, and officers alike.

The housing unit plaintiff was first housed in was 6-2 main,
which mad multiple health code and building violations, and is
now currently shut down, and the housing unit plaintiff now
resides in is 9-1 which also had multiple issues that puts
inmates health and safety at jeopardy.

83. The housing unit plaintiff is in as well as all the housing
units, it has problems with the lighting, plumbing with leaking
pipes especially in the bathroom making puddles of water, soiled
light shields, broken windows, clogged ventilation in _ the
kitchen, and shower, cracked walls, and ceilings exposing
asbestos, cracked floors that are also worpped.

84. the bathroom is decrepit with mildewed walls and ceilings as
well as the showers, with deteriorated asbestos insulation, an
absence of vacuum breakers, sewage treatment deficiencies,
stained walls, floors and ceilings, with antiquated water supply
system throughout the facility.

85. There is rodent and roach infestation, dilapidation, and
directly attached to the main building is a condemned building.

86. There are no cameras in the main building or 21A which
houses the inmate population leading to an increase of violence
among inmates, and assaults by officers on inmates.

87. Mats given to inmates to sleep on are stained, broken and
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old giving no support, and are unusable.

88. There is a constant shortage of hygiene products, and the
tissue that the facility is suppose to provide inmates are always
a shortage, and those same tissues’ the facility puts on
commissary so inmates are forced to buy these items that are
supposed to be supplied free, and the toilets constantly leak,
get clogged, and sewage waist consisting of urine and feces are
mixed within the leakage, as well as many toilets, and showers
are inoperable within the unit.

89. Cleaning materials such as mops are never new, and are
constantly washed, and reused making them inefficient to clean
with, and are damaged, as well as brooms, and toilet scrubbers.

90. The dorm is infested with roaches and mice that is so severe
they are in everything, and mice droppings are clearly apparent,
ruining plaintiff commissary, and package food products,
especially the kitchen and living areas.

91. Within the facility there are countless cats that are feral
which the correctional officers teed constantly, and they carry

fleas as well as ticks that get into the facility living area, as
fleas as, well, as ticks that get into the facility living area,

as,well as, raccoons.- ,

92. Request for maintenance repair rarely get:answered as well

as the pest-control person who rarely comes, and.when he does‘ he

does a horrible job placing, a few.drops or -roach poison, and-a

few sticky traps, nothing more, and plaintiff wont see him again

till the issue is grieved by multiple inmates.

43 Letters to the superintendent is ignored, and plaintiff grieve

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the issue following all the steps of the IGRC and P.L.~R.A with no

resolution

94. This is a sworn testimony of the condition of confinement

within Fishkill Correctional Facility, see (Exhibit N)

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INCIDENT # 6

95. While plaintiff was incarcerated at Fishkill Correctional
Facility, multiple attempts was made to go to the law library,
which consisted of filling out a request form, and having to wait
weeks to be placed on a call out.

96. Every other facility plaintiff had went to, all that had to
be done to get to the law library was to request it on the go
around, or mark it on the movement board, but not at Fishkill.

97. All most everything at Fishkill is done differently than any
other facility, making things harder from accessing the law
library to going to sick call

98. When plaintiff finally got on the call out to go to the law
library, once again plaintiff experience many issues such as lack
of supplies, such as request for typing paper, pens, envelopes,
manila envelopes, white out, correction tape, motions, rule and
directives etc, was in severe short supply or not available at
all, for prolong periods of time.

99. A request for copies was always denied by the law library
officer ms Dinkins against the Directive stating an advancement
can be made to inmates for copies, meanwhile this directive was
never honored by officer Dinkins refusing to allow plaintiff to
make the copies needed intentionally interfering with access to
the court.

100. Plaintiff grieved the issue, and just like with every other
grievance nothing was done to remedy the wrong, even when the
directive stated otherwise, and letters was submitted to
Administration, and the superintendent about her actions, and

failure to act.
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101. The policy that Fishkill C.F implements is inmates must
fill out a disbursement, and would have to wait weeks to receive
the pink slip(disbursement copy), and then plaintiff can go to
the law library to make copies, but must then wait weeks to get
put on a call out, all steps that impede, frustrate and is
inadequate.

102. Currently due to all the complaints made on ms Dinkins, her
actions, and failure to act she was removed from the law library
but not prior to her impeding plaintiffs attempt to access the
court, and a non-frivolous claim was impeded see (Exhibit E).

103. After plaintiff submitted a grievance following all the
steps, and when receiving no response or resolution plaintiff
then started filling out request to get to the law library to
have the notice of intent to file a claim notarized, plaintiff
waited weeks with no success, and the time frame to file a notice
to file a claim had expired.

(oY, Plaintiff then wrote letters to the law library inguiring on
what plaintiff should do next with no response.

105. Pier directive the law library is suppose to provide some
type of legal assistance, but didnt.

106. Plaintiff after many letters was finally granted special
access to the law library, and every time plaintiff goes to the
law library there is something vital needed, and not available
for example its been months since the law library had carbon
paper, which is vital to make copies because plaintiffs current
funds are limited, and copies would amount to a significant

amount.
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107. Plaintiff had attempted to grieve all these issues with no

success following all the procedures to Directive 4040, and the
P.L.R.«A with no resolution of any kind, and still to date the law
library is severely inadequate, and letters to the Administration
does nothing to rectify the problems, all being done so in bad
faith, and purposely to impede plaintiff as well as other inmates
attempts of accessing the court see (Exhibit 0), these are
plaintiff sworn testimony of the inadequacy at the law library

within Fishkill Correctional Facility.
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INCIDENT #7

108. When plaintiff arrived at Fishkill Correctional Facility,
Defendant was in possession of all of plaintiffs medical records,
and was in full notice of plaintiffs Disabilities.

109. When plaintiff was denied a Reasonable Accommodation
request for an EGG CRATE or EXTRA MAT PASS, and was denied
plaintiff started experiencing extreme pain, and suffering, and
multiple medical sick call request was made and ignored see
(Exhibit P).

110. request to be placed back on plaintiffs medication was
denied by plaintiffs medical provider ms SULLIVAN, and multiple
letters to administration personnel mr AKINYOMBO AKINOLA FRANCI,
whom plaintiff informed personally was ignored.

111. The defendants showed deliberate indifference to plaintiffs
medical needs, and grievances only had defendants take adverse
positions to plaintiffs medical needs.

112. Plaintiff use to have a tens unit which Defendant ms
SULLIVAN took away from plaintiff stating "That tens unit is not
suppose to be used for a prolong period of time", see (Exhibit
Q), and plaintiff explained to ms SULLIVAN that the medication
she prescribed did nothing to help with the pain and suffering
and that the tens unit was the only thing helping but she refused
to listen, and ordered plaintiff to turn it in which plaintiff
did.

113. Plaintiff condition worsen, and request to get physical
therapy was ignored, and request to be placed back on plaintiffs
original medication GABBAPENTIN 1600mg was denied, ms SULLIVAN
stating clearly that she does not prescribe that medication to
inmates.

114. Plaintiff prior to being incarcerated was on heavy pain

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killers due to the severity of plaintiffs medical and disability
condition, and at all times defendants refused to place plaintiff
on any of those medications even though plaintiff was on them in
the past for example morphine 30mg.

115. When plaintiff was assaulted by five officers on 12-30-21,
and when defendant GIBBONS ALEXANDRA AYANA, retaliated against
defendant on 12-31-21, causing plaintiff to get severely injured,
medical took 12 hours to see plaintiff that day see (Exhibit R),
and prescribed no medication.

116. When plaintiff seen defendant ms SULLIVAN she stated "your
on Diclofenac Sodium Topical Gel 1%, you can use that for the
pain", plaintiff fully explained that the cream does nothing to
help with the pain but ms SULLIVAN refused to prescribe anything
stronger, and ms SULLIVAN is only a NP, and never once in all the
time in Fishkill Correctional never once seen a doctor, or a

medical personnel qualified to assist plaintiffs medical

fete

condition or disability.

117. The D.0.C.cC.S is well known for providing the least
expensive treatment possible to save money, and cares little of
the pain and suffering inmates endure, and far to often deny
inmates the proper medication, and medical care needed see
(Exhibit S).

118. Defendants at all times was Deliberately Indifferent to
plaintiffs medical condition, and Disability, denying REASONABLE
ACCOMMODATIONS, and proper medication, including therapy, knowing
full well that plaintiff was and would suffer extreme pain, and

suffering, and did nothing to help or assist in any way providing

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below minimum standard of care, and their actions and failure to
act was done in bad faith, and with malicious intent, as a form
of retaliation for plaintiff grieving defendants failure to
remedy a wrong they new of, and created.

119. Administration was at all times aware of medical and
defendants lack of proper medical care because plaintiff wrote
letters, and informed them personally of what was going on with
medical, such as defendant AKINYOMBO and superintendent BURNETT,
failing to supervise and ensure a custom created by medical staff
was remedied, and plaintiff grieve all the issues fully following
all the steps of the IGRC with no resolution or assistance of any
kind.

120. Plaintiff has been incarcerated in a number of facilities
and has never seen as much corruption, deliberate indifference
and complete disregards to inmates health and safety as plaintiff
has seen here at Fishkill Correctional, as well as officers
physical abuse on inmates, and plaintiff is in hopes and prayer
that this 1983 claim against defendants could shed light on the
corruption within this facility.

121. this is a sworn testimony of the lack of medical care given

to plaintiff at Fishkill Correctional Facility.
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CAUSE OF ACTION INCIDENT # l

 

Defendant(s) are being sued in both their individual and
official capacities for the violation of Plaintiffs Federally

Protected Constitutional Rights Under The

First Amendment

fifth Amendent

Sixth Amendment

Eighth Amendment

Fourteenth Amendment

Due Process Clause Under the Fifth & Fourteenth Amendment
Equal Protection Clause Of The Fourteenth Amendment

P.L.R.A 42 U.S.C 1997e(a)

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122. The Prison Litigation Reform Act (P.L.R-A), is a federal
law that significantly affects section 1983 claims, and all of
the P.L.R-A requirements must be completed prior to beginning any
lawsuit as an incarcerated individual.

123. The need to exhaust all the administrative remedies
available, such as grievances, and appeals are detrimental to any
suit, for failure to exhaust could have complaints dismissed see
(Booth v Churner 532 U.S 731, 741,121 S.cT 1819, 1825,149 L.ED
958, 967,(2001).

124. Defendant ms Sally A. Reams is the inmate grievance program
supervisor, and is fully aware of how important it is to grieve,
and is fully aware of what failure to exhaust can have, and the
details of the IGP program can be found in D.0.C.C.S Directive
4040 and 4041, as well as in title 7 of the Codes, Rules and
Regulations Of The State Of New York Directive 4002 describing
the inmate liaison committees(ILC) concerning prisoners weifare.

125. The IGRC within Fishkill Correctional Facility is
completely corrupt under” ms Reams supervision, and the
Administration staff is fully aware of her actions and failure to
act, and allows her unlawful conduct, actions and violations to
continue because it helps the facility in saving face, and
disallows lawsuits to move forward.

126. They are fully aware of these violations due to vast amount
of grievances, letters, and claims that has be made, yet do
nothing to correct, and remedy the violations.

127. The First Amendment protects the right of people as well as

inmates to petition the government, and.personnel in a position

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to redress the grievances made see U.S CONST, AMEND 1, stating
that grievances filed through an official grievance procedure are
Constitutionally protected see (Hoskins V Lenear 395 F.3d 372,
375 (7th cir 2005).

128. The First Amendment also protects communication with
Official agencies and complaints addressed directly to prison
officials see (Pearson V Welborn 471 F.3d 732, 741 (7th cir
2006).

129. Plaintiff written multiple Grievances, letters and request
made on what to do if grievances went unanswered as well as
request for the grievance policy which was ignored, denied or
unanswered which is a violation see (Brengettey V Horton 923 F.3d
674, 682 (7th cir 2005).

130. The P.L.R.-A says inmates must exhaust remedies "THAT ARE

AVAILABLE", and if remedies are not available can proceed forward

with a claim without having to exhaust see (Abney v Mcginnis 380

£.3d 663, 667 (2d cir 2004).

131. A remedy is available if it has any authority to provide
any relief or to take any action whatsoever in response to a
complaint, and the provision clearly does not require a prisoner
to exhaust administrative remedies that do not address the
subject matter of a complaint see (Snider V Melindez 199 £.3d
108, 114 (2d cir 1999) see also (Exhibit C).

132. Prisoners are also not required to file a grievance on any
matter the inmate grievance procedure would not address or on a
matter that cant be remedied see (Mcgrath V Johnson 67 F.supp 2d

499, 510-11(E.D.Pa 1999).
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133. If inmates are told that an issue cant be grieved or
resolved by the IGRC or staff then exhaustion is excused see
(Davis V Frazier 1999 WL 395414 *4 (S.D.N.Y June 15, 1999).

134. The IGP falls within the P.L.R.A, and is a provision of the
United States Code that address Civil Rights Litigation, and in
Forma Pauperis proceedings, and the Sixth and Fourteenth
Amendment involve Access to the Courts, and Due Process Clause.

135. Plaintiff has shown with Affidavits, Exhibits and Sworn
Testimony that reasonable attempts were made to exhaust, and was
unsuccessful see (Lane V Doan 207 F.supp 2d 212 W.D.N.Y 2003) and
under New York State Exhaustion requirement the grievance
procedure states that it is "Intended To Supplement Not Replace
Existing Formal or Informal Channels Of Problem Resolution see
(Marvin V Goord 255 F.3d 40, 43 n.3 (2d cir 2001) see also
(Gibson V Brooks 335 F.supp 2d 325, 331-34 (D.CONN 2004).

136. Inmates knowing that threats of violent reprisals or were
told of violent reprisals occurring due to attempts to grieve can
also render administrative remedies unavailable or other wise
justify an inmates failure to exhaust see (Stanley V Rich 2006 WL
1549114 *2 (S.D.Ga June 1).

137. When grievances gets no response then plaintiff had
exhausted see (Brookins Vogel 2006 WL 3437482 *3 (E.D. Cal
Nov.28,2006), and when there is non responses or a grievance is
ignored then remedies are unavailable see (Lewis V Washington 300
F.3d 829, 833 (7th cir 2003).

138. When plaintiff received no decision on any grievance,

appeal and written IGP on what to do next, and failure to respond

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Need
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or answer rendered exhaustion requirement filled see (Brengettcy
V Horton 423 F3d 674, 682 (7th cir 2005).

139. Multiple attempts were made by plaintiff to grieve issues
and exhaust but was not replied to then exhaustion was made see
(Lane v Doan 207 F.-supp 2d 212 (W.D.N.Y 2003).

140. Ms Reams being the supervisor of the IGP has used her
authority, and position as a form of denying plaintiffs right to
grieve and access the court and by failing to follow her duties
has violated plaintiffs Constitutional Rights under the First
Amendment as well as others, and defendant is in direct violation
to the code of ethics which prohibits IGRC members’ from
preventing a prisoner from filing a grievance, and improperly
disclosing confidential information violating the Code of Ethics
as a member staff, and a member of the staff is suppose to have a
tactful attitude, with working knowledge of her duties as well as
awareness of their responsibilities under the IGP which me Reams
is in full violation of, as well as her superiors, in ensuring
there staff is in accordance with the rule, procedures and
directives in place of the D.0.C.C.S

141. Section 1983s first requirement is that a plaintiff must
show that your constitutional State or Federal statutory rights
were violated by a person, City or municipality, and ms Reams is
a person employed by the Department Of Corrections, and Directly
participated in the wrong as well as created a custom that
allowed the wrong to occur.

142. The second requirement is that the person who violated

plaintiffs rights was acting under color of State Law, and was

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acting under the states authority, and ms Reams was at all times
an employee of a state prison at Fishkill Correctional Facility,
and the third requirement is that the person plaintiff is suing
have deprived plaintiffs right, and or privilege under the
Constitution and or Federal Statutory Right, which ms Reams has
violated plaintiffs rights under the First, Sixth, and Fourteenth
Amendment including the Federal Statutory right of the P.L.R.A
1997 e(a).

143. The following defendants was informed of ms Reams actions
personally and with letters as well as multiple grievances made
by both plaintiff and other inmates which plaintiff has included
in the sworn affidavits provided as exhibits, her superiors whom
all had personal knowledge of Reams actions, failure to act, and
violations allowed the wrong to continue, and was told personally
by plaintiff when they. walked through the facility dorms, being
defendants Deputy Supt Admin Sharon L, Frost, Deputy Supt Program

John F, Woods and Superintendent Edward R, Burnett.
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CAUSE OF ACTION INCIDENT # 2

 

Defendant(s) are being sued in their Individual and Official
Capacities for their Violations Of Plaintiffs Federally Protected
Civil Rights Under The Americans With Disabilities Act Title II
12132 and 12133 and The Rehabilitation Act 504

Including 42 U.S.c 1983 Under The

Eighth Amendment

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144. The Americans With Disabilities Act Title II, as well as
The Rehabilitation Act 504, states that a prisoner with
disabilities or handicaps are protected by both the constitution
under State and Federal Statutes, and prison regulations may also
provide some protections for disabled prisoners.

145. Constitution protections under the Eighth Amendment, case
law has stated that prison officials must meet the medical needs
of prisoners with disabilities, and furnish the assistance that
they require in order to live a minimally decent life in prison
see (Ruiz V Estelle 503 F.supp 1265, 1345 (S.D.Tex 1980), and
denial of physical therapy to those who require it is a violation
of their Civil Rights see (Miller v King 384 F.3d 1248, 1261-62
(11th cir 2004).

146. Prisons are subjected to a limited Eighth Amendment
obligation to make prison facilities accessible to inmates with
disabilities (Ruiz V Estelle 503 F.supp 1265, 1345 at 1346), and
negligent failure to place a prisoner with neurological problems
in a suitable facility or program can lead to cause of actions
see (Muhammad V U.S 6F supp 2d 582, 594-95(N.D.Tex 1998).

147. Discrimination against prisoners with disabilities may deny
equal protection of the law if there is no rational basis for
there actions, and the Federal Disability statues Under the ADA
Title II and Section 504 of the Rehabilitation Act 29 U.S.C 794
applies to prisoner see (Crawford V Indiana Dept Of Corrections
115 F.3d 481, 486 (7th cir 1997).

148. Courts have heard claims under these statutes and in some

cases "GRANTED SIGNIFICANT RELIEF", if defendants knowingly

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violated prisoners rights see (Bane V Virginia Dept of
Corrections 267 F.supp 2d 514, 520 n.2 (W.D.Va 2003).

149. Evidence that defendants excluded prisoner from a
participation in some program supported a claim under the ADA see
(Rouse V Plantier 997 F.supp 575, 582 (D.N.J 1998), and Title II
of the ADA "public entity" section provides that "No qualified
individual with a disability in or shall be denied the benefits
of the SERVICES, PROGRAMS or ACTIVITIES of a public entity or be
SUBJECTED TO DISCRIMINATION by any such entity see 42 U.S.C
12132(1)(b) see also (Thompson V Davis 295 F.supp 890, 897-98
(9th cir 2002). |

150. Prison officials had excluded Plaintiff from attending a
program because of his disability violating the ADA see (Exhibi
M) and see also (Mitchell v Massachusetts Dept Of Correction 190
F.supp 2d, 204, 212 (D.Mass 2002), and the disability statutes
require that a prisoner can not be excluded from or denied the
‘benefits of a service, program or activity, which defendants did
to plaintiff by denying a Reasonable Accommodation for an EGG
CRATE, or EXTRA MAT PASS, as well as denying plaintiff the
opportunity to enter the COLLEGE program because of plaintiffs
disability see (Exhibit G and M).

151. To show exclusion from or denial of the benefits of a
service, program or activity plaintiff must show one of several
things (1) Disparate treatment, meaning intentional
discrimination and requires a showing that hostility towards
disable persons was a significant factor in the defendants

actions under the ADA or Rehabilitations act 504 (2) Disparate
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impact meaning the application of facially neutral standards that
have an unlawful discriminatory effect upon a protected class (3)
’Failure to make REASONABLE ACCOMMODATIONS for plaintiffs
disability(42 U.S.C 12131).

152. Plaintiff has shown with the exhibits and claims within
this Federal Civil Rights Complaint that defendants violated one
or all of these standards especially (3) for failing to provide
Reasonable Accommodations that in no way had a rational basis for
their actions, and Accommodations are deemed unreasonable only if
they impose undue financial and administrative burdens which
plaintiff request in no way did see also (Southeastern Community
College V Davis 442 U.S 397, 412, 99 S.ct 2361, 1979), or require
a fundamental alteration in the nature of the program, which
plaintiff request to enter into the college program would have in
no way created.

153. Thus under both these statutes defendants can be required
at least to some degree to change the way they operate, change
physical structures, provide affirmative assistance so that the
disable person can have access to their program, service and
activity see (Gorman V Easley 257 F.3d 738, 751 (8th cir 2001).

154. A plaintiff does not have to show disparate treatment or
disparate prisoner does not have to be completely excluded from a
service, program or activity to have a claim, and it is enough if
access is made unusually difficult, painful or dangerous by
failure to accommodate see (Schmidt V Odell 64 F.supp 2d 1014,
1033 (D.Kan 1999).

155. Plaintiff is Fully disable with limited use of the right

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are with nuerological issues as well, and defendants denied
plaintiff Reasonable Accommodations, as well as plaintiffs
request to be placed into the college program intentionally
discriminating against plaintiff meanwhile the college program
had inmates with both disability and medical conditions, and
plaintiff strongly feels this denial was done as a form of
retaliation for plaintiffs writing of grievance and multiple
letters to the administration.

156. Defendants knew of plaintiff disability and failed to
compensate plaintiff in any way or assist, and at all times
delendants, was aware of plaintiff disability, request and denials
and did nothing to help, all while in possession of plaintiffs
medical record.

157. Plaintiff attempted to get assistance writing a grievance
with no resolution and letters written to the administration went
unanswered, and all of plaintiffs request to be put on proper
medication, and even physical therapy request denied by the
medical provider ms Sullivan and the dep of health Akinyombo did
nothing to assist.

158. Defendants actions and failure to act has violated
plaintiff ADA title II rights as well Discriminated against
plaintiff, along with retaliation against plaintiff for writing
grievances, all in violation of plaintiffs Federally protected
rights under the nature of actions plaintiff has moved forward

with.

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CAUSE OF ACTION INCIDENT # 3

 

Defendant(s) are being sued in both their individual and
official capacities for the violation of Plaintiffs Federally

Protected Constitutional Rights Under The

Fifth Amendment
Eighth Amendment
Fourteenth Amendment

P.L-ReA 42 U.S.C 1997e(a)
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159. Defendant(s) GIBBONS ALEXANDRA AYANA actions against
plaintiff was a Direct Deliberate Indifference to plaintiffs
medical condition as well as Disabilities, and her actions was
direct retaliation against defendant, all done with a CULPABLE
STATE OF MIND.

160. Defendant Knew that her actions would cause plaintiff to
suffer the extreme unwanton infliction of pain and suffering,
doing so while plaintiff was suffering severe medical issues, and
her action contributed to plaintiff having severe injuries to the
head, neck, back, leg, knees, and ankle as well as exasperating
already existing injuries.

161. Often times there is no direct evidence of a retaliation
claim so prisoners must rely on circumstantial evidence see
(Bennett V Goord 343 F.3d 133, 138-39 (2d cir 2003), but
plaintiff has provided sworn affidavits, and documentation as
exhibits.

162. Types of evidence that have been found to support
retaliation claims include the suspicious timing of the adverse
actions shortly after the prisoner has made a complaint or filed
a grievance which plaintiff did both of immediately after
plaintiffs incident described within the complaint see also (Mays
V Springborn 575 F.3d 643, 650 (7th cir 2009).

163. Adverse actions that is based on flimsy or suspect evidence
can still constitute a retaliation claim see (Bruce V Ylst 351
F.3d 1283, 1288 (9th cir 2003), and departures from usual prison

procedures in actions against the plaintiff is a violation see

(Cornell V Woods 69 F.3d 1383, 1388-89 (8th cir 1995).

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informing the Superintendent with a copy of the complaint with no
response and so plaintiffs is moving forward with this Federal
Civil Rights Complaint against Defendants for failure to
supervise an employee, correct a wrong that was done and to
insure this type of behavior and action which is a constant issue

within Fishkill Correctional Facility is put to a stop.
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164. Courts have held that retaliation for expressive activity
will be upheld if it satisfies the Turner V Safely standard by
being reasonably related to Legitimate Penological Interest which
defendants actions were not see (Rhodes V Robinson 408 F.3d 559,
567-68 (9th cir 2005), meaning the expressive activity was not
really protected in light of the limits on the First. Amendment
rights of prisoners.

165. Defendant acted maliciously and intended to cause
plaintiffs harm which was severe and serious, and in no way was
necessary under the circumstances, and the excessiveness of
defendants actions was a violation of the Eighth Amendment as
well see (Hudson V Mcmillian 503 U.S 1, 6, 112 S.ct 995, 998-99,
117 L.Ed 2d 156, 165 (1992). | |

166. The defendants action was in bad faith, malicious and
sadistically, intended to cause plaintiffs injury, and was a
violation of the Eighth Amendment, and was a form of
discrimination against plaintiffs disabilities and medical
condition.

167. Defendant caused a Substantial Risk to Plaintiffs Health
and Safety, and Knew about the Risk and was Deliberately
Indifferent to plaintiffs medical and disability condition and at
all times had the intent to cause harm, and her action caused
plaintiff severe mental and emotional injury with a prior showing
of injury see (Exhibit T)

168. Plaintiff filed a grievance about her actions and followed
all the steps of the IGP with no response, and plaintiff even
filed a Civil Service Law Complaint 75(1)(2)(3) due to the

seriousness of defendants actions and Plaintiffs injuries

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CAUSE OF ACTION INCIDENT # 4

 

Defendant(s) are being sued in both individually and official

capacities for the violation of Plaintiffs Federally Protected

Constitutional Rights Under The

Americans With Disabilities Act Title II
Rehabilitation Act 504

Equal Protection Clause Of the Fourteenth Amendment
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169. Plaintiff constitutes with the issues described within this
Federal Civil Rights Complaint that Defendants Knowingly at all
times Discriminated against plaintiff due to his disabilities and
medical condition see (Exhibit M), a letter inquiring why
plaintiff has not been accepted into the college program or puppy
program despite having an exceptional disciplinary record and
meet all the standards of qualifications, including taking the
college exam a number of times doing exceptional as well in both
the essay and question test, and the letter sent to the
Superintendent Burnett, was sent to Administration personnel
stating that "Thank you for your interest but due to my
medical/disability I am unable to program", making it clear that
I was being denied a program and discriminated due to my medical
and or disability.

170. The Americans with Disabilities Act Title II and
Rehabilitation Act 504 make it clear that prisoners can not be
discriminated or denied a program, service or activity due to a
medical condition and or disability which defendants clearly did.’

171. Plaintiff attempted to resolve the issue writing a
grievance and informing the Superintendent as well as
Administration staff Dep Woods and Dep of Health Services A
kinyombo with no assistance of any kind.

172. Plaintiff attempted multiple times to enter these programs
with no success and if plaintiff would have had a chance to enter
these programs could have earned the EARNED ELIGIBILITY PROGRAM,
time credit to allow plaintiff to be Conditionally Released six

months earlier but since was denied and discriminated against was

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unable to having to do a longer prison sentence.

193. Plaintiff is an individual with a disability, and was well
qualified to enter into any of the programs available to earn the
Earned Eligibility Credit time but was discriminated against, and
their is a number of prisoners within the Department Of
Corrections that have a Disability or Medical issue, and is in
these programs.

174. Plaintiff strongly feels that due to the grievances and
letters written to the Administration staff (Defendants), they
had purposely had plaintiff excluded from entering these programs
as well because as plaintiff has stated a number of times within
this complaint the staff at Fishkill Correctional Facility are
corrupt, sadistic, and unprofessional in all manners of speaking
and instead of the goal of rehabilitation has abused their
position and authority in all manners of ways.

Plaintiff being allowed to enter into these programs in no way
would have caused any modifications of any kind and there was no
Penological Interests in plaintiffs denial and discrimination
into any of these programs and all defendants mentioned within
this claim was well aware of the situation and could have
remedied the problem but refused to or didnt care to assist
plaintiff in any way.

) 7S. For all the reasons stated within this claim plaintiff was
discriminated, denied and excluded from a program, service or
activities and plaintiff now moves forward with this Complaint to
ensure no other prisoner is discriminated against or denied the

same opportunity as any other prisoner within D.O.C.C.-S.

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CAUSE OF ACTION INCIDENT # 5

 

Defendant(s) are being sued in both individual and official
capacities for the violations of Plaintiffs Federally Protected

Constitutional Rights Under The

Eighth Amendment
Cruel and Unusual Punishment

For Poor Prison Conditions
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176: A sanitary environment is a basic human need that a penal
institution must provide for all humans see (Toussaint V Mccarthy
597 F.supp 1388, 1411 (N.D.Cal 1984), and prison must have
functioning plumbing systems, operable sinks and toilets to
ensure the risk of conveying water born diseases and vermin
infestation do not occur see (Carty V Farrelly 957 F.supp at
736).

177. Courts have found serious deficiencies in plumbing to
violate the Eighth Amendment both in individual housing units and
in prisons as a whole see (Gates V Cook 376 F.3d at 341), and
infestation by vermin may also violate the Eighth Amendment see
(Gates V Cook 376 F.3d at 340).

198. Proximity to human waste even for relatively brief periods
of time has been of serious concern to the courts in sanitation
cases see (Despain V Uphoff 2621 F.3d 965, 974, (10th cir 2001),
and the Deliberate Indifference standard states that officials
must be shown to have known of unsanitary conditions to be held
liable, which in plaintiffs claim at all times Defendants was
made aware, knew and seen these conditions.

1J9. Prison officials can not escape their responsibilities for
maintaining sanitary condition of confinements by blaming the
prisoners or by ignoring the situations see (Blake V Hall 668
F.2d 52, 57-58 (lst cir 1981), and prison officials can use
inmates to keep the prison sanitary yet it is still the officials
responsibilities to provide adequate supplies, maintain fixtures,
equipment, and ensure the cleaning activities are done by the

prisoners and or staff see (Hoptowit v Spellman 753 F.2d 779, 784

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(9th cir 1985).

1%0. State or local health or sanitation codes can be used to
support unconstitutional claims of confinement see (Davis V Scott
157 F.3d 1003, 1006 (Sth cir 1998), and prison official are
required to provide clean clothes, bedding, toiletry, soap and
toilet tissue see (Board V Farnham 394 F.3d 469, 481-82 (7th cir
2005).

11. Prison Officials must provide functioning toilets and
plumbing to the population see (Fischer V Winter 564 F.supp 281,
302 (N.D-Cal 1983) and prisoners can not be kept in living
conditions without the above see (Kimbrough V Oneil 523 F.2d at
1058-59. |

192. Prison officials must also provide reasonably safe living
and working environments for prisoners see (Helling V Mckinney
509 U.S 25, 33, 113 S.ct 2475 (1993), and in extreme cases courts
may order unsafe facilities to be closed down.

1%3.Prisoners are entitled to living conditions that does not
threaten their mental and physical well being see (Ramos V Lamm
639 F.2d 559, 568 (10th cir 1980), and alleging that unsafe
conditions violate the Eighth Amendment can be supported when
prison officials have deliberately been indifferent to the safety
of prisoners by exposing them to dangerous conditions or toxic
substances see (Herman V Holiday 238 F3d 660, 663-65 (5th cir
2001).

1$4. Courts have cited exposure to friable asbestos as raising
constitutional questions if a genuine health hazard is possible

see (Smith V U.S 561 F.3d 1090, 1094, 1105 (10th cir 2009), and

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ventilation is a fundamental attribute of shelter and sanitation
both of which is a basic need see (Minifield V Butikofer 298
F.supp 2d 900, 904 (N.D.Cal 2004).

195. Many courts have held inadequate ventilation
unconstitutional see (Benjamin V Fraser 343 F.3d 35, 52 (2d cir
2003), and inadequate or excessive heat as well see (Wilson V
Seiter 501 U.S 304 111 S.ct 2321 (1991).

146. Prison officials must repair broken windows, screens, and
ventilation systems see (Benjamin V Fraser 344 F.3d at 53-54),
and the forced exposure of prisoners to extreme outdoor weather
conditions also violate the Eighth Amendment se (Johnson V Lewis
217 F.3d 726, 734-35 (9th cir 2000), and unrepaired windows
throughout winter can state a claim see (Gaston V Coughlin 249
F.3d 156, 164-65 (2d cir 2001).

147. Extreme cold, severe discomfort with imminent threat to
health can state a claim see (Dixon V Godinez 114 F.3d 640, 642-
45 (7th cir 1991),and Plaintiff has been subjected to each and
every one of these conditions stated above, and has even been
injured due to the conditions of confinement within Fishkill
Correctional Facility, and Defendants at all times knew of these
conditions both directly being informed by plaintiff and by
grievances that did nothing to assist in any way.

1%8. As plaintiff is completing this Federal Complaint the dorm
has broken windows and is freezing and the Administration does
nothing to assist in any way, and when inspectors come around are
only taken to dorms that are considered honor dorms which is

clean and has little issues yet the dorms of the population has a

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vast numbers of issues in violation of plaintiff Eighth
Amendment, which has caused plaintiff injury and future risk to

health and safety.

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CAUSE OF ACTION INE€IDENT # 6
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189. Law Libraries are supposed to be adequate, effective and
meaningful, and must provide prisoners with pens, paper, carbon
paper, notary services, etc, as well as legal assistance see
(Bounds V Smith 430 U.S 817, 822, 97 S.ct 1491 (1977).

190. within plaintiffs complaint prison officials interfered
with an actual injury complaint that was not frivolous, and
attempts to pursue legal actions were impeded.

191. Prison officials not only frustrated, impeded and claims
but did so with intent, as well as grievances being ignored and
failed to remedy the wrong see (Lewis V Casey 518 U.S 343, 351-
53, 116 S.ct 2174 (1996).

192. The inadequacies and restrictions caused plaintiff actual
injury by causing obstacles that impaired the ability to present
ones claim and grievances effectively see (Cody V Weber 256 F.3d
764, 768 (8th cir 2001). |

193. Multiple times plaintiff had encountered searches that
destroyed vital documents impeding access to the court see
(Purkey V ECA detention Center 339 F.supp 2d 1145, 1152 (D.Kan
2004), and the system/ policy in place within Fishkill
Correctional on attempting to access the law library is severely
inadequate and severely delays plaintiffs attempts to access the

-court, and purse legal actions properly.

194, Multiple times plaintiff attempted to get assistance from
other prisoners and the law library officer would intervene and
the courts have well settled that prisoner can assist other
prisoners especially when the law library is inadequate see

(Johnson V avery 389 U.S 483, 490, 89, S.ct 747, 751, 21 L.ed 2d

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718, 724 (1969), and at no time did the facility provide
plaintiff assistance or documents requested.

195. The severe lack of supplies was so extreme that typing
paper was not available at times as well as carbon paper which on
its own is a violation see (Bounds v Smith), things were so bad
that pens or pencils was not available and plaintiff with a hand,
arm disability that prevents plaintiff from writing properly is a
claim on its own see (Canell V Bradshaw 840 F.supp 1382, 1391,
(Dp. Or 1993).

Grievances did nothing to correct the issue as well as letters
to Administration personnel and plaintiff tried in multiple
attempts informing them of the lack of supplies, notary at times,
legal assistance and the fact that inmates that worked in the law
library would charge a fee or not assist at all, all having no
remedy.

197. Plaintiff has shown with documents within the complaint how
inadequate and corrupt the Facility is and getting meaningful
access to the law library to purse a valid claim would be just
one of many violations within the facility and plaintiffs non
frivolous claim being time barred is enough to file claim, for
all the reasons stated access to the court was impeded and an
adequate law library was non existence with Fishkill Correctional

Facility, and this is a sworn testimony of Plaintiff.

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CAUSE OF ACTION INCIDENT # 7

 

198. Plaintiffs claim contained facts, with documents of the
lack of medical care at Fishkill Correctional Facility, as well
as medical negligence and malpractice, and at all times
pefendants was aware of their actions and Deliberate Indifference
to plaintiffs Medical need and Disability.

199. Since prisoners cannot obtain their own medical services
the Constitution requires authorities to provide them with
"Reasonably Adequate Medical Care" see (Newman V Alabama 559 F.2d
283, 291 (5th cir 1978), and courts have defined adequate medical
services as services at a level reasonably commensurate with
modern medical science and of quality acceptable within prudent
professional standards see (Fernandez V U.S 941 F.2d 1488, 1493
(llth cir 1991).

200. As a level of health services reasonably designed to meet
routine and emergency medical, dental and psychological or
psychiatric care see (Tillery v Owens 714 F.supp 1256, 1308
(Ww.D.Pa 1989), and failure to provide adequate medical care may
justify an injunction or damages see (Glaus V Anderson 408 F.3d
382, 387 (7th cir 2005).

201. The fact that the medical care may be expensive does not
excuse prison officials from providing it see (Harris V Thigpen
941 F.2d 1495, 1509 (11th cir 1991).

202. Prisoners who are denied adequate medical care like
plaintiff within state or local institution may use 42 U.S.C 1983
to sue prison medical care providers see (West V Atkins 487 U.S
42, 108 S.ct 2250 (1988), and the supreme court has stated that

Deliberate Indifference to serious medical needs of prisoners

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constitutes the unnecessary and wanton infliction of pain,
proscribed by the Eighth Amendment see (Estelle V Gamble 429 vU.§
97, 104, 97 S.ct 285 (1976).

203. The Deliberate Indifference standard requires a plaintif£
to show that the defendants had actual knowledge of an
objectively cruel condition and or risk which plaintiff have
stated and proven see (Farmer V Brennan 511 U.S 825, 837, 114
S.ct 1970 (1994), and a medical provider who does not treat a
patient properly because they didnt realize how sick the
plaintiff was or the problem was (is) medical malpractice.

204. Medical malpractice that include a misdiagnosis or non
diagnosis resulting from failure to exercise ordinary knowledge,
Skill and care does constitute malpractice see (Coppage V Mann
906 F.supp 1025, 1040, 1049 (E.D.va 1995).

205. If there is evidence direct or indirect that shows medical
staff should have known of a medical condition then they can be
help liable see (Vaughn V Gray 557 F.3d 904, 909 (8th cir 2009).

206. The same is true where non-medical personnel fail to act
but there is evidence that they did know the patient was ill or.
at risk such as defendant Gibbons see (Estate Of Carter V City Of
Detroit 408 F.3d 304, 310, 312-13 (6th. cir 2005), and if
plaintiff has a medical condition that could cause a serious
health problem and defendants disregarded it such as plaintiff
then defendants can be found deliberately indifferent see
(Dominguez V Correctional Medical Services 555 F.3d 543, 550 (6th
cir. 2009).

207. Direct evidence of deliberate indifference can be caused by
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the acts or statements of prison personnel directly demonstrated
in plaintiffs claim as indifferent or hostile attitude towards
prisoners medical needs is a violation see (Greeno V Daley 414
F.3d 645, 654 (7th cir 2005), and denial or delay of access to
medical care, personnel, hospital or failure of medical personnel
to deal with the prisoners problem or to do so timely is
deliberate indifference see (Scott V Ambani 575 F.3d 642, (6th

cir 2009). 208. Denial of access to medical personnel qualified

to exercise judgement about a particular medical problem or whom
simply lack medical qualifications like so many medical personnel
within fishkill medical with inadequate training is a violation
to plaintiffs rights see (Williams V Edwards 547 F2d 1206, 1216-
18 (5th cir 2007).

209. Failure to inquire into essential fact that are necessary
to make a professional judgement, may state an Eighth Amendment
claim see (Tillery V Owens 719 F.supp 1256, 1308 (W.D.Pa 1989)
affd 907 F.2d 418 (3d cir 1990), and failure of medical personnel

to ask Hécessary ! Luestions ‘or take a history or failure td

conduct test needed or therapy such as plaintiff is also a
violation see (Comstock V Mccrary 273 F.3d 693, 709 (6th cir

2001).

210.Failure to carry out medical orders such as the pain
management doctors recommendation for plaintiff involve failure

to prescribe medication see ‘(Board Vv Farnham 394 F.3d 469, 484

(7th cir 2005), or the failure to act on recommendations of

procedures as well see (Johnson V Lockhart 941 F.2d 705, 706-07

(8th cir 1991).

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211. Plaintiff can also receive damages for pain and suffering
due to medical personnels failure to act or provide proper care
see (Coleman V Rahija 114 F.3d 778, 787 (8th cir 1997) and see
(Boretti V Wiscomb 930 F.2d 1150, 1154-55 (6th cir 1991).

212. The medical needs of plaintiff consist of many that had
been diagnosed by physicians as mandating treatment, and it was
obvious that even a lay person would easily recognize the
necessity of treatment see (Brown V Johnson 387 F.3d 1344, 1351
(llth cir 2004).

213. The Eighth Amendment prohibits the unnecessary and wanton
infliction of pain and defendants actions and failure to act
violated plaintiffs federally protected rights deeming actions
see (Estelle V Gamble 429 U.S at 104), and the courts have held
that the objective evidence of pain is not necessary, when self-
reporting may be the only evidence see (Hayes V Snyder 546 F.3d
516, 523 (7th cir 2008).

21N. Plaintiff has provided as much testimony, sworn affidavits
and documents of exhibits as proof of defendants violation of
plaintiffs rights which caused the severe pain and suffering in
violation to the Eighth Amendment, and denial of a Mat alone is
grounds for a claim see (Moore V Morgen 922 F.2d 1553, 1558,
(llth cir 1991).

Plaintiff is in hopes this honorable court grants plaintiffs
request because all attempts to resolve the issues within
complaint by grievances, letters and court actions has done
nothing to assist, and Defendants knew their action and failure
to act would cause plaintiff significant damages, pain and
suffering.

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CAUSE OF ACTION UNDER

 

The FOURTEENTH AMENDMENT 4)U,S.c 1983
AND

SUPERVISOR LIABILITY (RESPONDEAT SUPERIOR)
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215. Plaintiff incorporates by reference the allegations set
forth in paragraphs 1 through 214, as though set fourth fully
herein, that defendants, collectively and individually, while
acting under color of State Law, engaged in conduct that
constituted and unconstitutional customs, usages, practices,
procedures, or cules Defendants and D.O.C.C.S,

216. The aforementioned customs, policies, usages, practices,
procedures, and rules of Defendants include, but were not limited
to, denying plaintiff£ prompt access to medical care, and despite

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knowledge of imminent Medical ana Di

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plaintiff possession end usage of medical devices and medication
under the pretense of denying plaintiffs Reasonable
Accommodations under the Americans with Disabilities Act despite
actual knowledge of substantial pain, suffering and future health
and safety.

217. Denying plaint

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access to sanitary facilitie

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, cenying
proper bedding during incarceration, denying medical services,
and the confiscating of medical equipment (Tens Unit) prescribed
by an authorized medical personnel absent pre-deprivation notice
and hearing with respect to the seizure and destruction of non-
contraband personal property with the pretense o£ disciplinary
actions done if plaintiff did not give up a needed medical
equipment.

218. In addition Defendants engaged in a policy, custom, or
practice of inadequate screening, | hiring, retaining, and
supervising its employees that was the moving force behing the

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violations of plaintiffs vights.

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s a vesult defendants failure

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 61 of 175

to properly recruit, screen, train, discipline and supervise its
officers and individual defendants, the defendants had been
Deliberately Indifferent to, and has tacitly authorized and
catified, the acts and conduct complained of herein.

219. The foregoing customs, policies, practices, procedures, and
rules of Defendants constituted Deliberate Indifference to the
safety, medical needs, and constitutional rights o£ plaintiff and
further violated plaintiffs right to PROCEDURAL DUE PROCESS.

220.4 The foregoing customs, policies, usages, practices,
procedures, and rules of Gefendants were Girectly and proximate
cause of the constitutional violations suffered by plaintiff as
alleged herein, and supervisory personnel had direct and indirect
knowledge of all the issues made within complaint and failed to
act and remedy a wrong they knew was going on.

221. As a result of the foregoing customs, policies, usages,
practices, procedures and rules defendants implemented, plaintiff
suffered serious harm, including but not limited to serious pain
to Head, Neck, Back, Arm, Wrist, Leg and trouble sleeping,
eating, loss of property, anxiety, nervousness, and substantial
pain and suffering while being denied prompt medical care, and
adequate medical care and medical services needed such as

therapy.
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CAUSE OF ACTION UNDER

 

The Americans With Disabilities Act Title II 42 U.&.c
NUMBERS 12102 and 12133
AND

SECTION 504 OF THE REHABILITATIOCNS Act

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222. Plaintiff incorporates by reference the allegations set
fourth in paragraphs 1 through 214, above as though fully set
forth herein.

223. At the time plaintiff was incarcerated at Fishkili
Correctional Facility on or about the end of 2019 to date that
defendants knew of, and was in possession of documentation that
plaintiffs physical condition was such that I suffered from a
physical impairment that substantially limited plaintiffs major
life activities, including but not limited te caring for myself,
eating, sleeping, walking, lifting, communicating, writing,
typing, and workin.

224. These physical impairments plaintiffs suffers is life long
and are impairments that constitute Disabilities under the
Americans With Disabilities Act 42 U.S.C 12101, 12133 and the
Section 504 Of The Rehabilitation Act.

225. Defendants were provided notice of plaintiffs medical
condition and disabilities on or about January 10, 2015 and
thereafter through medical records in the possession, custody, or
control of Defendants and D.O.C.c.S.

226. Defendants failed to provide plaintiff with Reasonable
Accommodations despite knowledge of these disabilities and fail
to ensure plaintiff received adequate medical care, medication,
equipment and physical therapy.

227. Defendants failed to provide for procedures by which the
State employees within D.O.C.C staff might evaluate plaintiffs
request for Reasonable Accommodaticns and improperly denied

plaintiff's request without adhering to the requirements of 42

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U.S.C 12102, 12133 and section 504 of the rehabilitations act.
228. As a cesult of defendants failure to provide reasonable
accommodations and adequate medical care, equipment, medication,
services and despite knowledge of custom, practices and actions
eaused plaintiff to suffer substantial pain and suffering and
possible future health and safety causing Significant harm to

plaintiff in violations of the above Laws.

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EQUAL PROTECTION OF THE LAW

 

FOURTEENTH AMENDMENT U.S CONSTITUTION

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229. The Fourteenth Amendment forbids a State to "Deny any person
within its jurisdiction the equal protection of the Law", and
Plaintiff incorporates by reference the allegations set forth in
paragraphs 1 through 214, above as though fully set forth herein.

230. All persons similarly situated should be treated alike see
(city Of Cleburn Tex V Cleburn Living Center 473 U.S 432, 439,
105 S.ct 3249 (1995), and to deny equal protection,
discrimination must generally be intentional such as defendants
action within complaint.

231. Equal protection forbid inequality that jacks
justification, and the court have required three different levels
of justification in different kinds of cases and the courts have
held that prisoners equal protection claims are generally
governed by the “REASONABLE RELATIONSHIP", test of furner V
Safley.

232. This standard expects prison officials to come forward with
the actual reasons for their policies and provide some evidence
or at least experience in support of it.

233. The Supreme Court held that prison racial discrimination is
subject to strict serutiny and the principle of deference to
prison official judgment does not apply to cases involving racial
discrimination.

234, Numerous decisions had held intentional racial segregation
such as plaintiff with discrimination that is unlawful regarding
prison jobs and programs see (Dewalt V Carter 224 F,3d 607, 618

(7th cir 2000), and in discipline also in housing, without making

clear what legal standards they were applying.

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235. Discrimination against Disable prisoners denies equal
protection if it lacks rational basis such as the case with
plaintiff, being treated differently from others similarly
situated intentionally without cational basis states an equal
protection claim as a "CLASS OF ONE", see (Village Of Willowbrook
V Olech 528 U.S 564-65, 120 S.ct 1073 (2000).

236. Defendants all knew of this discrimination and equal
protection of the law violation against plaintiff both directly
and indirectly and failed to remedy an issue and wrong they knew
was occurring harming plaintiffs equal right to earn time credit
off his sentence and to earn a college degree to better

plaintiffs situation upon release.
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DEMAND FOR TRIAL BY JURY

 

237. PLAINTIFF HUMBLY REQUEST A TRIAL BY JURY FOR ALL ISSUES

SO TRIABLE AS A MATTER OF RIGHT AND LAW.

PRAYER FOR RELIEF

 

238, WHEREFORE, Judgment should be entered in favor of Plaintiff
and against all the Defendants as follows;

(A) Compensatory damages as against all Defendants in an amount
to be determined

(8) Punitive damages as against the Individual Defendants in an
amount to be determined;

(C) Reasonable Attorneys Fees, together with costs and
disbursements, pursuant to Americans With Disabilities Act title
II , Section 504 Of The Rehabilitation Act, and 1988, as weil as
this courts discretion

(D) Pre-judgment interest as allowed by law and,

(Cc) Such Other Further Relief as the Court May Deem Just and
“Proper.

Plaintiff Humbly Request This Honorable Court Excuse Any Errors
Made Within This Claim As Plaintiff Is Pro-Se And Is Not Familiar

With The Law And Rules Of Court.

RESPECTFULLY SUBMITTED BY

 
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FORM 21311E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE GRIEVANCE COMPLAINT

 

Grievance No.

 

 

 

 

 

 

ei >) kf | CORRECTIONAL FACILITY
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\ C. "4
Name: Kalt h fro dyque Le Dept. No.: Housing Unit: q = |

Program: _{V) L- am (YD PM
(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

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Signature: fe a4A Cate

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Grievance Clerk: Date:
Advisor Requested [IYES Pano Who:
Action requested by inmate: 12 cepa: hes act: 0onS ol nea! “Seale _ce\ at aban
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Wi > ooh Stee been formally resolved as 'o Ows:

 

 

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

\ Grievant
i : - Date:

CL Cy , Signature:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution rot ote (IGRC).
* An exception to the time limit may be requested under Dire or) section 701.6(g

 
  

Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 72 of 175
FORM 21311E (9/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

INMATE GRIEVANCE COMPLAINT

Fable, | | CORRECTIONAL FACILITY

Qa 1) f Date: | 27 3 |— 2 |
\ t ,
Name: _\ \f h oc (\¢ GUE? é~ __ Dept. No.: Housing Unit: q -|

4 “

Program: Wy AM__yy) x PM

 

Grievance No.

 

 

 

 

(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*
Description of Problem: (Please make as brief as possible) Of) [2.7 507 Z| Cy ma 1 Cane.
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Proveleced, CANN Fu Ny ve sable Yan there a achitas usin? piel Mae |: COO
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Signature: ud A fhe Apa

Grievance Clerk: Date:

 

Advisor Requested L]YES [JNO Who:
Action requested by inmate: “Te pal 4 there AL Lor , and ha VE

Joc Loner tute OD he Recech

 

 

The Grievance has been formally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

_ If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).
\y An exception to the time limit may be requested under Cres section 701.6(g).

Fo

i
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 73 of 175

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONAL SERVICES
FORM 2137E (REV. 6/06) INMATE GRIEVANCE COMPLAINT

 

Grievance No.

 

 

 

CORRECTIONAL FACILITY

 

 

 

 

 

 

Description of Problem: (Please make as brief as possible)

 

Q \ L 0 J eo 104 in g Date
AID od PGs & j OF oA
Name ( fl a Dept.No. Housin Unit
Medic tong ja &
Program AM
(Please Print or Type - This form must be filed within 21 calendar ons of Grievance Incident)” , / .
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Grievant eee
Signature >
Grievance Clerk _ Date:
Advisor Requested | YES | NO Who:
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Action requested by inmate Cae rhe tylits toe ky tHe windows
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This Grievance has been informally resolved as follows:

 

 

 

 

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

f \ / Grievant

“ Signature Date:

If unresolved, you are entitled to a hearing by the Inmate Grievance Resolution Committee (IGRC).

*An exception to the time limit may be requested san section 701.6(g).

EY
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 74 of 175

FORM 2131E (REVERSE) (REV. 6/06)
Response of IGRC: 9 FCF--101-21 5-13-2021

Grievance unfavorable: Per I.G.R.C. investigation, FCF-0245-20 notes, a
grievant seeking a decision or an appeal of a decision otherwise attainable
through the established procedures for inmate personal property claims, is

non-grievable. I.G.R.C. recommends that grievant file a claim with the
facility steward.

 
 
  

Date Returned to inmate S (3-$03.| IGRC Members tal [

 

Chairperson. DV bbe, eae esr O
Df ioy_!

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Return within 7 calendar days and check appropriate boxes. *

 

 

 

 

[| | disagree with IGRC response and wish to [| | have reviewed deadlocked responses.
appeal to the Superintendent. Pass-Thru to Superintendent
[] | agree with the IGRC response and wish to [| | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal
Signed
Grievant Date
Grievance Clerk's Receipt Date

 

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent

 

Date

Grievance forwarded to the Superintendent for action

 

Date

*An exception to the time limit may be requested under Directive #4040, section 701.6(g).

ESD
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 75 of 175

FORM 2131E (REVERSE) (REV. 6/06)
Response of IGRC: FCF-0273-21 : 10/20/21

Grievance Unfavorable, Per DSH'A" grievant's was seen on 10/9/21 by the
clinic nurse who placed grievant on the call-out to see his provider.
Noting, grievant was seen by the provider and received confirmation on what
the nurse told grievant on 10/9/21. Directing grievant to follow up as
needed with sick call.

 

Date Returned to Inmate [0 Bo ~2O2[ IGRC Members

 

Chairperson LM] bls

 

 

 

Return within 7 calendar days and check appropriate boxes. *

ns | disagree with IGRC response and wish to [| | have reviewed deadlocked responses.
appeal to the Superintendent. Pass-Thru to Superintendent
(See Arlachment \
| | agree with the IGRC response and wish to | | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal

or

Signed SB g) Z fA fe CEQ awit? LO—-—2>- 20) @) |

Grievant 4 “ Date

 

Grievance Clerk's Receipt Date

 

To be completed by Grievance Clerk.

‘Grievance Appealed to the Superintendent

 

Date

Grievance forwarded to the Superintendent for action

 

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 76 of lia)

 

 

 

 

 

 

 

 

GRIEVANCE NO. DATE FILED LE rh
NEW | Corrections and (oe :
stare | Community Supervision [mere oF #0269-21 rampgigher 12. 2021
FISHKILL CORRECTIONAL FACILITY | _ Institutional
: TITLE OF GRIEVANCE CLASS CODE ~
INMATE GRIEVANCE PROGRAM EXTERMINATE ALL HUs 23
SUPERINTENDENT'S SIGNATWRE DATE ,
SUPERINTENDENT Court November 2, 2021
GRIEVANT DIN” HOUSING UNIT
RODRIGUEZ, R. 170928 MB-09-120

 

 

 

 

Grievant's action requested is denied with clarification.

Grievant is advised that an investigation has been conducted by the Office of the Deputy Superintendent
for Administration. It was revealed that the pest control company comes on a weekly basis. Each week,
the vendor is assigned to go to various units. The facility is so large, that all housing units cannot be
completed in every week. The housing unit officer can call the Steward’s Office to be added on the list
for specific attention. It is noted that HU “9/1” has been added to the list. Grievant should request to the
housing unit officer to have his cube baited.

vir

xc: DSA Frost (w/case file)

 

APPEAL STATEMENT
If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.” Please state why you are appealing
this decision to C.O.R.C.

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} . GRIEVANT'S SIGNATURE (___ * DATE

 

 

GRIEVANCE CLERK'S SIGNATURE DATE

* An exception to the time limit may be requested under CEL section 701.6(g).
FORM 2133 (02/15)
 

Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 77 of LTB

 

 

 

 

 

   
  

 

 

 

 

 

GRIEVANCE NO. DATE FILED
NEW | Corrections and
stare | Community Supervision [maar CE #027024 =, Oatoher 5, 2024
FISHKILL CORRECTIONAL FACILITY | _ Institutional
TITLE OF GRIEVANCE . CLASS CODE
INMATE GRIEVANCE PROGRAM PROPER MEDS 22
SUPERINTENDENT, GMATURE DATE
SUPERINTENDENT /4 October 27, 2021
GRIEVANT tn HOUSING UNIT
RODRIGUEZ, R. 17A0928 MB-09-120

 

Grievant's action requested is denied with clarification.
Grievant is advised that an investigation has been conducted by the Office of the Deputy Superintendent

for Health Services. It was revealed that on 7/19/21, grievant refused treatment and acknowledged such
in the presence of their provider. If grievant would like to reconsider the treatment offered, they are

advised to make an appointment with their provider.
vir

xc: DSH Akinyombo (w/case file)

 

APPEAL STATEMENT ;
if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.” Please state why you are appealing

this decision to C.O.R.C.

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*GRIEVANT'S SJGNATURE “DATE

 

 

 

GRIEVANCE CLERK'S SIGNATURE DATE

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
FORM 2133 (02/15) Cre)
 

Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 78 of 175 rh

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GRIEVANCE NO. DATE FILED VW
NEW | Corrections and
YORK _ ;
Bh Community Supervision [raat CE #0221 soap atoher 14. 2024
FISHKILL CORRECTIONAL FACILITY | __ Institutional
TITLE OF GRIEVANCE CLASS CODE
INMATE GRIEVANCE PROGRAM 22
DATE
SUPERINTENDENT October 27, 2021
GRIEVANT HOUSING UNIT
RODRIGUEZ, R. 17A0928 MB-09-120

 

 

 

 

Grievant's action requested is denied with clarification.

Grievant is advised that an investigation has been conducted by the Office of the Deputy Superintendent
for Health Services. It was revealed that grievant was seen on 10/9/21 by the clinic nurse who placed
grievant on a callout to be seen by their provider. Grievant was then seen on 10/18/21 by their provider
and grievant received confirmation on what the nurse initially told them on 10/9/21. Grievant may
continue to follow up as needed with sick call.

vir

xc: DSH Akinyombo (w/case file)

 

APPEAL STATEMENT
If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing

this decision to C.O.R.C. |
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GRIEVANCE CLERK'S SIGNATURE DATE

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
FORM 2133 (02/15) ;

 

 
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 79 of 175

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

FISHKILL CORRECTIONAL FACILITY

GRIEVANCE RECEIPT NOTIFICATION

 

 

NAME TDN
FROM; Grievance Office
DATE FILED:

 

 

This is to inform you that the below referenced grievance has been
received by the Grievance Office and filed on the date noted above.

GRIEVANCE #
CODE 2.

TITLE

 

 
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 80 of 175

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

FISHKILL CORRECTIONAL FACILITY

GRIEVANCE RECEIPT NOTIFICATION

 

 

~/ (NAME/ DIN #)
FROM: Grievance Office
DATE FILED: fw £9- 2

 

 

This is to inform you that the below referenced grievance has been
received by the Grievance Office and filed on the date noted above.

 

GRIEVANCE # O00 /
CODE . -

 

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 81 of 175

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

FISHKILL CORRECTIONAL FACILITY

GRIEVANCE RECEIPT NOTIFICATION

   

 

TO: é 2 a
/ (NAME/ DIN #)

FROM: Grievance Office

DATE FILED: AO feb~ GE

 

 

This is to inform you that the below referenced grievance has been
received by the Grievance Office and filed on the date noted above.

 

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 82 of 175
FORM 2131E (REVERSE) (REV. 6/06) .
Response of IGRC: FCF-0269-21 10/28/21

IGRC REFERS this grievance complaint to the Superintendent for Further Action
and Response.

 

 

Date Returned to inmate. /@ -AB- Bon IGRC Members Hdd wsdl

 

Chairperson LW) ithr
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Ff

Return within 7 calendar days and check appropriate boxes. *

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appeal to the Superintendent. Pass-Thru to Superintendent
[| I agree with the IGRC response and wish to [| | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal
Signed “2 wi Mt , EM pK to TZE-£|

 

 

7 ~~ Grievant (oo Date

 

 

Grievance Clerk's Receipt Date

 

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent

 

Date

Grievance forwarded to the Superintendent for action /O-B8-Jraf
Date

*An exception to the time limit may be requested under Directive #4040, section 701.6(g).

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Case 1:22-cv-02198-LTS Document 2. Filed 03/16/22 Page 83 of 175

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 84 of 175

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 85 of 175

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 86 of 175
FORM 2131E (REVERSE) (REV. 6/06)
Response of IGRC: = FCF--101-21 5-13-2021

Grievance unfavorable: Per I.G.R.C. investigation, FCF-0245-20 notes, a
grievant seeking a decision or an appeal of a decision otherwise attainable
through the established procedures for inmate personal property claims, is

non-grievable. I.G.R.C. recommends that grievant file a claim with the
facility steward.

Date Returned to Inmate S- 3 foJ.| IGRC Members vl |

 

 

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Chairperson. Wh bbe, I Wal

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Return within 7 calendar days and check appropriate boxes. *

 

 

 

 

[| { disagree with IGRC response and wish to [| i have reviewed deadlocked responses.
appeal to the Superintendent. Pass-Thru to Superintendent
[ ] | agree with the IGRC response and wish to [ ] | apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal
Signed
Grievant Date
Grievance Clerk's Receipt - Date

 

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent

 

Date

Grievance forwarded to the Superintendent for action

 

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

 
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 87 of 175

FORM 2131E (REVERSE) (REV. 6/06}
Response of IGRC; PCF-0270-21 10/20/21

Grievance Unfavorable, PerDSHS"A'" Grievant refused a treatment signed by
grievant, with your provider present dated 7/19/21. However if grievant
would like to reconsider the treatment. IGRC notes grievant should see his
primary care provider for appointment on treatment.

 

Date Returned to Inmate [D ~fle- ~ MI 2. IGRC Members t/ |, of fp

 

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Chairperson é/ ) tbr aise

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Return within 7 calendar days and check appropriate boxes. * i
[] { disagree with IGRC response and wish to [] | have reviewed deadlocked responses.
appeal to the Superintendent. | Pass-Thru to Superintendent
[] | agree with the IGRC response and wish to [] | apply to the IGP Supervisor for
appeal to the ‘Superintendent. review of dismissal
Signed
Grievant Date
Grievance Clerk's Receipt Date

 

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent
‘ Date

Grievance forwarded to the Superintendent for action

 

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).

 
Case 1:22-cv-021 i ocumeyit 2 Filed 03/16/22 Page 88 of 175
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Case 1:22-cv-02198-LTS Document2 Filed 03/16/22 Page 89 of 175

 

 

 

 

 

 

 

 

 

 

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 91 of.175°

 

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Case 1:22-cv-0219 LYS / or 2/ Fi 4 03/16/22 Page 92 of 175
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Case 1:22-cv-02198-LTS Document.2. Filed 03/16/22 Page 93 of 175

 

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STATE OF NEW YORK : COURT OF CLAIMS

NOTICE OF INTENTION
TO FILE A CLAIM.

 

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THE STATE OF NEW YORK

 

 

TO THE ATTORNEY GENERAL OF THE STATE OF NEW YORK

L, Kalph Pod vique ras. » intend to file a claim
against the State of New York, pursuant to Sections 10 and 11 of
the Court of Claims Act.

I reside at Fishkill Correctional Facilitv, P.O. Box 1245,
Beacon, New York 12508.

For the time being, I am representing myself.

The time and place where my claim arose and the nature
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VERIFICATION
STATE OF NEW YORK
COUNTY OF DUTCHESS
I, | i alps bodrique ; _. being duly sworn, state;
Io am the Claimant in ‘nis action. The foregoing Notice of

Intention To File A Claim is true to my own knowledge, except as
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AFFIDAVIT OF SERVICE

STATE OF NEW YORK
COUNTY OF DUTCHESS

Calpl, Ckriquer. being duly sworn, deposes and says:

1. I am the Claimant in the instant action and am over 18

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The Attorney General One (1) copy by certified mail,
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The Capitol

Albany, New York 12224

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N STATE Community Supervision. | _-__brace,sling,splint. cast
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| a a : - / : pas ee 7 | RN Signature K(, verlag ____Date Mohs
7. ee : ee “Bt Date_ Shéfis _

 

 

 

 

Five Points Medical Department
. Five Points Correctional Facility
Medical Permit-Heailth Services Le
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DIN# ITA092 & __Lotation Lo
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RN Signature OSL a 12 S/1F
Expiration date__ G79 De 4

 
 
 

Annual Renewal Permit

 

 

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Current Start Date:

 
   
 
 
  
  
 

 

 

Permit Duration:

 

le Permit Expiration Date:

 

 

 

 

Inmate Name:

 

 

  
 

_ Housing Location:

    

The above inmate has been evaluated and there isa medical need for

  

 

 

 

 

 

 

 

 

. Facility Health Services DirecoriDesignes

Reviewed d Approved:

    
 
     
 
   

 

. Deputy Superintendent for Securily &

acknowledge receipt of the permitted item descnbed above. I understand | will be , responeiols for its. proper. use. _ Any -
misuse or damage caused 2 my negligence ey result i in revocation of the permitted tom, financial reimbursement ang
8 decplinay action, S : oe

 

 

dete

 

/ Ce: Block 1° Officer Medical — Medical File RAFile (if appropriate)

FP164 (037)

 

Five Points Correctional Fay 6600 State Route 96, Caller box L08- lus, NY 14541 | (607) 869-5111 | www.doces.ny.gov | /

    
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WA007 (06/01) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
WASHINGTON CORRECTIONAL FACILITY
MEDICAL EXCUSE STATUS / MEDICAL EQUIPMENT / CALL-OUT

 

TO: DORM OFFICER

 

 

INMATE NAME:

 

NS
E OF NEW YORK - DEPARTMENT OF CORRECTIO
om AND COMMUNITY SUPERVISION
pene canien’ — WASHINGTON CORRECTIONAL FACILITY

INMATE PROGRAM CARD

Name: od Breast wlolk Number, LAA CARS
Effective Date: __\Y \ww \\

aM: Wwedt. Sade.

 

EXCUSE STATUS DATE: START:

 

 

 

 

 

 

   

 

pm: Wiad. Sve ——
TO REST IN BUNK ve
GO TO MESS-HALL a LATE EVE:
= —_ Validation: ~ [PRC
ATTEND SCHOOL a W186 (04/44)
ATTEND WORK .

 

ATTEND KITCHEN WORK

 

PASSIVE REC., TV-MOVIES

 

 

 

 

ACTIVE REC., e.g.: Ping Pong, Weight Lifting, Basketball

 

   

ADDITIONAL INFORMATION:

 

 

 

 

 

EQUIPMENT ISSUED: (Check appropriate boxes) :
[_] Crutches aa Sling [_] Ace Wrap [_] Other:
[_] Cane Zé [_] Splint CE Brace

EXPIRATION DATE:

 

 

 

* EQUIPMENT PERMIT TO BE CARRIED AT ALL TIMES BY INMATE

CALL-OUT:

The above mentioned inmate is to report tothe clinic on:

 

AT Zé FOR:

   

 

 

White Copy: Medical Records

Canary Copy: Inmate

Pink Copy: Dorm Officer

Gold Copy: Security (Equipment Only)

uo (Health Care Provider)

 

 

 
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Revised (71) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
COPY LOCALLY REQUEST FOR REASONABLE ACCOMMODATION
AS NEEDED

Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 123 of 175

   
  
 
   

 

- by ic

 

 

Inmate's Name

 

 

 

 

INMATE'S
REQUEST

 

 

 

 

(Sign and forward to the Deputy Superintendént fot Program Services) ,

 
 

 

es ZBE Signature

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

INMATE
RECEIPT

 

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oc (DSP Name) If (Signature)

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> No medical verification is on file. Follow-up appointment scheduled? , [| yes [| no

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A Date inmate notified of pending medical evaluation/consult: CS a3 Te <\ eycad WSs

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Misarlien mese J & WR jay
(Medical staff name - title) essnabiree A ) ) a 4 '
The above requested reasonable accommodation has been: [| Approved [| Modified be Denied

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oO The specific accommodations approved are: ie EGirey * _ Nea fret ac A oC \

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< O Deps eS Segue Ce " Se exe Mees S xn 3 ae S44 crete, FS

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o Z | Explanation of modification or denial:

ze _f-

Oo « .

wm W .

ram A /: y

Ww 3.
(Inmate's Signature) _ , ae signature} Date

[| | agree | disagrée with this determination. i

    

| understand my right to file g-grievance in accordanes with Directive #4040, “Inmate Grievance Program”

 
  

 

Date

 

_ Signature 4

 

Original
Copies

  
    

#
- Guidance Folder ko. ™
- Inmate, Superintendent, Medical, Parate, ADA Cyordinator (Central Office) UY .

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Case 1:22-cv-02198-LTS Document 2.,

 

 

Revised STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
orm 1
COPY LOCALLY REQUEST FOR REASONABLE ACCOMMODATION FISHEL TL
AS NEEDED " 7 - CORRECT HEN Ta,
. , Correctional Facility
Lik : B = ftpse
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Inmate's Name DIN#

Sve, (ode bve ze \1 40473

Date

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Copies - Inmate, Superintendent, Medica}, Parole, ADA Coordinator (Central Offi ;

 

Filed, 08/16/22... Page 124:0f. 175 ......0

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| request reasonable accommodation to parucipate in the foiiowing program anaicr sersce: Wes
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(Sign and forward to the Deputy Superintendent for Program Services} Lod lec ——>}
inmate's Sign re
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(Medical staff name - title) . Wi l= } . Date
The above requested reasonable accommodation has been: [| Approved [ | Modified [| Denied
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Ww r [| | agree [| | disagree with this determination.
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= o | understand my right to file a grievance in accordance with Directive #4040, “Inmate Grievance Program”
Ze
Signature Date
Original = - Guidance Folder
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January 24, 2022
To whom it may concern

This is a sworn affidavit about how medical here at Fishkill
Correctional Facility is fatling me, specifically Dr. Sullivan
during my incarceration beginning September 9, 2020. I have
been prescribed Gabapentin in Suffolk County Correctional
Facility, and in Downstate Correctional Facility as well, and
Marcy Correctional Facility.

I came to Fishkill Correctional Facility in the beginning of
December of 2020 with a full prescription of Gabapentin presc-
ibed by Dr Zahi from Marcy Correctional, and ms Sullivan states
incorrectly that D.O.C.C.S does not prescribe that medication
which is not tru¢@. She does so in an attempt to not give inm-
ates that medication for there pain.

I need shoulder surgery which has been approved by Albany and
it states the severity of my condition and injury requires the
surgery. On January 20, 2022 I seen the report made by the sp-
ecialist orthopedist that I Gaw on or about that date, and he
stated that I should be on that medication. Ms Sullivan is still
refusing to prescribe me my medication I need for my severe
pain, and she is not a speacialist, and prescribes me an anti-
depressant instead named symbalta, that does not help in any way
and should not have been prescribed to me. Medical in Fishkill
Correctional in no way is within reasonable care, and letters
as well as Grievances go unanswered. Can you please help in any

way, thank you for your time, Respectfully submitted

 
 

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 128 of 175

 

 
FORM 3105 (1 ingase 1:22 BOPP Goku DrePREMentOR berrE RMON GdrronreGeraeBieh 175
AMBULATORY HEALTH RECORD PROGRESS NOTE

 

 

 

 

 

’ | Signature/Provider # _

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Continue entry into next.box if necessary.

 

 
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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 131 of 175

To whom +t May CONCEND , |-4-22

 

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 133 of 175

 
FORM 3105 (11/1 nCase ISPATEOVE DEM GORK LEP ARTOIENTIOR GORREGFHIONS OB) COVRONTR SURERMBUDNT 175

 

Name °

AMBULATORY HEALTH RECORD PROGRESS NOTE
Os of Birth Facility Name

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Subjective: _ Last Name Bodhi \eS Rale ,
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Under Civil Service

 
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 136 of 175

TO:
9)
FROM: Kalo h “ered ue)
DATE: | -4U 7-22
Re: Formal Complaint Under Civil Services Law § 75(1)(2)(3)

 

 

This complaint refers to the following Officers and/or Civilians

 

 

 

 

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of Cree Cy hbo
Qa. V7 \s Af Fohy et |
I, Raph Wodltaved #174092, am a prisoner at “Tish y., Correctional
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oe

Facility, and do hereby swear and affirm that the following statement that forms the basis
of this complaint is true to the best of my knowledge and understanding.

I hereby demand that an investigation be conducted pursuant to Civil Law § .
75(1)(2)(3) against the aforementioned officer(s) and or civilian(s) for the above reasons
as well as for harassing my person and acting other than that of a professional
agent/employee of NYS DOCCS. |

I further submit this whole action as a complaint pursuant to section 2:2, 4:12, and
7:18 of the descriptive language of the employee manual. As the conduct of the *
aforementioned officer(s) and/or civilian(s) was counterproductive to the well-being of
the facility and all persons therein.

I further make this complaint pursuant to section 75 of the Civil Services Law
asking the aforementioned officer(s) and/or civilian(s) be given mental examinations /
evaluations pursuant to Civil Services Rules and Regulations section 21:8(1) in as much
as the aforementioned officer(s) and/or civilian(s) behaved in an unprofessional manner

showing an attitude consistently anti-social, racist and being incapable of working with
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 137 of 175

and supervising [any] prisoners without harassing or abusing them or their rights. Same
has violated my human, civil and both State and Federal Constitutional Rights under the
Bill of Rights, as well as threatening my person. Such action is also in violation of
Correctional Law § 137.5. There can be [NO] retaliation for submitting this complaint, as
this complaint is protected pursuant to Correctional Law § 138.4,

Fora greater description of the conduct, actions and problems that have brought

this to action please see page(s) | ~ 3 , attached hereto.

RELIEF REQUESTED

1, That.a copy of this complaint/petition be forwarded to the Superintendent of the
Fishk, i/ Correctional Facility who shall place reference of this complaint in
his/her daily log pursuant to Civil Services Law § 75(2).

2. That a copy of this complaint/petition be placed in the file of each and every

ther review and/or action.
3. That the Department of Correctional Services comply with the DOCCS Directive
#2110 through #2111 and Article 8, § 4 of the agreement between the State of New York

and Counsel 82.

4, That I receive a complete determination after review and/or hearing of this matter
in writing.
5. That pursuant to Civil Services Law § 75, I request that the employee(s)

complained of herein be notified of this action within ten (10) days of your receipt of this

complaint/petition.

 
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6. That pursuant to Civil Services Law § 75, I request to be notified by the
Commissioner of DOCCS and/or his designee of the results of the investigation in
regards to this complaint/petition within thirty (30) days of receipt.

7; I further make this complaint pursuant to section 75 of the Civil Services Law,
asking that the aforementioned employee(s) be given a mental examination/evaluation
pursuant to Civil Services Rules and Regulations § 21.8(1) in as much as the
aforementioned behaved in an unprofessional manner, showing an attitude that is anti-
social and racist and incapable of working with or supervising prisoners without
harassing or abusing them and/or their rights. Such action is in violation of Corrections
Law § 137.5.

8. That pursuant to Corrections Law § 138.4, Petitioner herein is [protected] from
any retaliation from any DOCCS employee(s) as a result of the herein complaint/petition;
therefore, petitioner hereby invokes his rights in regards to Statutory Mandates of said
Correction Law and contends that if there is [any] retaliation by [any] officer(s) and/or
civilian(s) employee(s), there will be additional complaints/petition and stronger .
measures shall be taken in accordance with the laws of this State and the United States of
America.

9, Pursuant to Civil Service Law § 75(1)(2)(3), I hereby request that a copy of this
report be placed in the above officer(s’)/civilian(s) employee(s’) files of DOCCS; in
accordance with Directive #2110 through #2111 and Article 8.4 of this agreement
between the State of New York and Counsel 82, that this request be executed in

compliance with the aforementioned.
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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 139 of 175

WHEREFORE, all contained herein is a true and correct complaint to the best of
my knowledge, and as to those matters stated to be alleged upon information and belief, I

also believe them to be true under the penalty of perjury.

  

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DIN #

Address: Fishle‘]/ Coprectona/
PO Pox 2079
Beacon, NY 12508

 

Kathy Hoch vb
CC.: The Honorable Andre h4--Cronre

Governor of New York State Su per ater Aont of Fs Lk, VY
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Albany, NY 12224. Covecthivne Lele
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Attorney General Vo 0 ox J ef | 2 Svy
Office of the Attorney General , /
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The Capitol
Albany, NY 12224-0341

State Inspector General
Empire State Plaza
Agency Bldg. 2 — 16" floor
Albany, NY 12223

State Division of Human Rights
1 Fordham Plaza — 4"" floor
Bronx, NY 10458

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I Ralph Rodriguez am an inmate at Fishkill Correctional, housing
unit 9-1. On December 31,2021 officer Gibbons was sent to work my
housing unit. When she came in it was apparent that she was
disturbed, severely angered and very disrespectful to the inmates
within the unit. Later on we found out that she was going to have
to do overtime within the unit, obviously messing up her New
Years Eve and day plans, and was taking her frustration out on
us. She had approached my cube and seen i was laying down on an
extra mattress, and told me to remove the mattress. I had
attempted to explain to her the reason why. On 12-30-21 C.E.R.T
(Correction Emergency Response Team) was sent to the facility and
entered my housing unit at around 6:45 am and maliciously
attacked seven inmates, myself included, with closed fist. There
actions where intentional, malicious and inhumane. They severely
injured all seven of us. Six inmates was sent to the ICU within
the facility but i was left behind. I am fully disable and the
facility is fully aware of my medical condition, and my documents
is within the C.0,s bubble. The officers that attacked me in no
way was provoked. The officers was dressed in full riot gear and
there faces was covered. One came up to my bed and grabbed me by
my neck, lifted me up and slammed me to the floor head first, and
suddenly i was jumped by about five other officers. The officers
that attacked me injured my head, neck, back, arm, wrist, ribs, .
knee, and ankle. As they brutally assaulted me i screamed out "
Im disable, Im disabled", and they got off me as one picked me up
handcuffed me and slammed me to the wall. Another officer checked

my ID and Medical Restriction documents and seeing i-.was fully
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disabled told the officer to take the handcuff off of me. The
other six was taken out the unit barely able to walk and taken to
the medical I.C.U unit within the facility, but i was unable to
get medical attention till around 6pm that night. When i went to
medical and taken to the I.C.U all the rooms was filled up and
the nurse told the officer to take me to sick call where i got
below minimum care, being given only two ace bands for my wrist
and ankle and no medication. An injury report was made and all
this information is documented. I was sent back to my housing
unit and was why i needed the mattress because a medical
condition made it necessary. When ms Gibbons told me to remove
the extra mattress i attempted to tell her why i needed it but
she refused to listen. I then told her because of my severe
injuries i needed assistance and she put on her gloves and took
away my mattress that was given to me brand new by the Laundry
Department on medical request, leaving only a paper thin mat. I
tried to explain to her she was taking my mattress but she told
me to "shut up you had your chance", and took me out the dorm
area into the hallway and ordered me to stand in front of the
wall and stare at it. I told her i couldnt because of my injuries
but she said if i didnt she would pull the pin and have a team
beat me up again for real this time. Being traumatized due to the
day prior i followed her order. After 20 minutes due to the pain
i fell down hitting my head against the wall and she had to pull
the pin for a medical emergency and i was taken to medical again.
A Injury report was made and all this information is documented.

Her actions was purely retaliatory, malice and unprofessional.
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 142 of 175

She violated my constitutional rights under the Eighth amendment
for cruel and unusual punishment and the Americans’ with
disabilities act title two. A federal civil suit under section
1983 is going to be filed against ms Gibbons and her malicious
actions. I am requesting that the court humbly grants my relief
requested and am in hopes once these claims are investigated and
verified as true, ms Gibbons will be removed from further working

within the department of corrections. Respectfully Submitted by

Ralph Rodriguez

 

 
Case 1:22-cv-02198-LTS Documen t2 Filed 03/16/22 Page 143 of 175

 

 

 

 
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RN APPIDAVIT

ZT oam a porter at Fishkill Correctional Facility, and the
condition of confinement are horrible. The windows within my
“housing unit which I am a porter at Gel are broken, their is mold
and mildew on the wall, and ceilings, as weli as holes, and
stains. Attempts to clean them cant be Gone because the area is
hard to reach and the facility does not give us the things we
need te Go it. In the month of Jenuary 2022 an inspector came
With Dep Frost, ang inspected thing, ané was informed of the
peoblems yet to date nothing has been done. The bathroom
constantly has water because the pipes and toilets leak out
geewage and waist causing hazardous conditions anc health safety
concerns that do not get addressed by the facility. There is an
infestation in the dorm of roaches and mice and nats. This is my
sworn testimony of the conditions we as inmates are forced to

jive in and grievances as well as the administration does nothing

to correct or assist the issues.

Vayshausn Videlell
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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 147 of 175

 

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get medical beets well over a year age and was

 

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been done monthe age, and to date YF still have noc goOkrLe ite

    
   

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assist. fiehkill Correctional ia a Medical facility, ance there
standard of care ie below minimum standard of care and negligence

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tT am a incarcerated individual at Fishkill Correctional
Facility, and go to the Law Library as many times as I can, but
the library is extremely inadequate. They constantly have little
to no supplies that are critically needed to access the court.
The inmates that work at the Law Library does little to assist
inmates due to them working on there own personal work, or legal
work that other inmates are forced to pay for the assistance they
are suppose to receive. The Law Library officers refuse to honor
copy cards that have been used even if there funds available, and
refuse to hand out supplies stating that they are short, and
whats available are for their inmate staff. The problems at the
law library impedes inmates attempts at accessing the court, and
gcievances do nothing to help in any way. 1 am signing this sworn
atfidavit for mr Rodriguez in hopes something could be done to
change these facts

Respectfully submitted

we

 
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STAT E | Community Supervision |

ANDREW M. CUOMO ANTHONY J. ANNUCCI .
Governor Acting Commissionér ~~

TO: "inmate Mt
FROM: Five Points Medical Department wre:
SUBJECT: Annual Renewal Permit
Original Start Date: HY ( zaliz 7
Current Start Date: etl(z4(17

Permit Duration. . «(Soe

Permit Expiration Date: all 24/1 e

Inmate Name: KeYrgurez, Letph
Din #: 197 4A ©9828

Housing Location: /O-4/-© ° B

 

 

 

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The above inmate has been evaluated and there is a medical need for: i RA Ca MED

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Debora PAR Alea ll
Facility Health Services Director/Designee ’ Date
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Deputy Superintendent for Seéurity sDate / os °

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| acknowledge receipt of the permitted item described above. | understand | will be responsible for its

proper use. Any misuse or damagé*eaused by my negligence may result in revocation of the permitted
item, financial reimbursement and. disGiplinary action. J “

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infate Signature // Date

   

 

Cc: Block 1° Officer Medical Records Office Medical File RA File (if appropriate)

Five Points Cortectional Facility, 6600 State Route 96, Galler Box 40 Romulus, NY 44544 | (607) 869-5114 www.doccs.ny.gov

 
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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 161 of 175

NEw | Corrections and
STATE | Community Supervision

KATHY HOCHUL ANTHONY J. ANNUCCI
Governor Acting Commissioner

February 16, 2022
DIN 17A0928 RODRIGUEZ, Ralph

CELL MB-09-120
Re: FOIL Log No. FCF- 0047-2022
Dear R. Rodriguez:

This is in response to your New York State Freedom of Information Law request for “Copy of Injury
Reports made on 12/30/21 and 12/31/21.”

Please be advised, we conducted a diligent search, and the Department does not appear to have any
responsive records. We are not required to create a document if it does not already exist.

   

. Wilbur, OAII/FOIL
Fishkill Correctional Facility
18 Strack Dr.

Beacon, NY 12508

CC: FOIL Records

 

if you do not agree with any part of this decision, you may appeal by writing the Office of the Counsel & FOIL Appeals Officer, NYS Department of
Corrections and Community Supervision, The Harriman State Campus, 1220 Washington Avenue, Albany, New York, 12226-2050.

in appeal correspondence, please clearly note your name, DIN number, facility from which records were requested, and the FOIL Log Number provided.
os

 
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RALPH RODRIGUEZ

DIN# 17A0928

FISHKILL CORRECTIONAL FACILITY

P.O BOX 307

BEACON, NEW YORK 12508
Dy 3-1-22
Dear John Morley

I am writing to you because on 12-30-21 and 12-31-21, I was

severly injured by the Corféctional Officers while in my housing
unit 9-1 main. The officers were from C.E.R.T on 12-30-21 and
On 12-31-21 the officer was ms Gibbon*Alexandra Ayana whom action
severly injured me as well. I requested a foil request for my
injury report and madical records for both days and I was writen
back by Foil ms Gardner Anita H that both my injury reports were
missing and not found. The sergeant on staff at medical that day
was suppose to secure those injury reports and insure they were
reported and failed to. I did recieve the medical records and
on the medical record dated 12-31-21 all the information that |
the nurse ms Cujas Gifty N was completely fabricated and not
correct. I had informed her clearly that while having severe
injury to my ankle that was aced band up, and not being able to
walk officer Gibbons told me to get off my bed because I had a
double mattress and to stand staring at the wall, which I did so
while in severe pain and after 20 minutes I had fell down injuri=
ng my head, neck baek and further injuring my injuries.

She ms Gifty put in my medical records that I had fell in my
buttox and did not hit my head and had no new injuries, all of
which was a complete lie, she violated her medical oath as well
as the HIPPA law, and I had already wrote a grievance but the

grievance program here run by ms Reams is also corrupt, and
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 163 of 175

and job is to hide and cover up the wrong that the staff here
at fishkill does. I am'‘moving forward on a 1983 claim against
the facility and all the personnel involved with the misconduct

I had mentioned within this letter and writing you for assistance
and to insure that my records reflect the facts of what happen
and my injuries, and to possibly investigate why both my inury
reports are gone. Please see Magaliosv Peralta Southern Distric
New york 19-CV-6188 Febuary 10,2022 in this case against fishkill
correctional officers it was found that staff at fishkill was |
covering up. the wrongful acts done by their staff and also was
falsifiying records just like whats happening to me now.

I am humbly requesting you investigate the matter and inform the
proper personnel to look into the matter as well.

Im sorry to have to burden you with this issue but what is going
on in this facility is severe and cant be ignored.

Respectfully

RALDH RODRIGUEZ
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c.Cc sent to Superintendent
Dep of health
Albany Chief Medical Officer
Governor of the state of new york

 
Case 1:22-cv-02198-LTS Document 2. Filed 03/16/22 Page 164 of 175

I have provided the medical records I recieved and a letter

from foil stating that my injury report dont exist.

Now the medical records clearly shows I went to medical with
a code green and was escorted by an officer, and if you review
the medical documents youll see that the 12-31-21 report had been
fabricated to reflect no new injuries and states I didnt hit my
head and I fell on my buttox, all witch is a lie, I clearly
Stated I hit my head and have sworn affidavits by other inmate
who seen me get injured. and youll see the dates have been falsi+
fied as well and should reflect the correct injuries, also the
medical report dated 1-13-22 states that "no show sick call"
at no time was I called and at no time didi I refuse any sick
call callout. Can you please look into the matter of what I have
Stated in this letter and inform the proper personnel of these

actions.
Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 165 of 175

FORM 3105 (11/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
AMBULATORY HEALTH RECORD PROGRESS NOTE

 

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FORM 3105 (11/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
AMBULATORY HEALTH RECORD PROGRESS NOTE

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Im a inmate incarcerated a Fishkill Correctional Facility, and
have severe medical issues, which include CROENS DISEASE, and the
facility has been giving me a different medication than what Ive
always taken. This medication has severe side effects and causes
me severe pain and suffering, ail my attempts of getting my
proper medication has failed and the medical staff has been
Deliberateiy Indifferent to my medical needs and condition. I am
making this sworn affidavit to R. Rodriguez so he can inform the
proper authority and or Courts of this facilities actions and
faiiure to act.

Respectfully submitted

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Case 1:22-cv-02198-LTS Documen t2 Filed 03/16/22 Page 170 of 175

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Case 1:22-cv-02198-LTS Document 2 Filed 03/16/22 Page 172 of 175

VERIFICATION

STATE OF NEW. YORK 3

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COUNTY OF BDUTCHESS}

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cA fee being duly sworn, deposes and saya that
he ig the Petitioner in the within proceeding and that he has read

Lhe foregoing Petition and knows the contentea thereof; that the

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etated ta he alleged on information and belief, and that as ta

these matters he believes it to he true.

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COUNTY OF DUTCHESS )

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Facility, P.O. Box 32245, Beacon, New York 125@8-A245.

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